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                                                                             1
             1                                                               2                F E D E R A L S T I P U L A T I O N S

             2    UNITED STATES DISTRICT COURT                               3
                  SOUTHERN DISTRICT OF NEW YORK
             3    CIVIL DIVISION                                             4
                  ------------------------------------------X
             4    JAMES MORALES,                                             5                IT IS HEREBY STIPULATED AND AGREED by and
             5                                    PLAINTIFF,                 6               between the counsel for the respective
             6
                               -against-          Case No.:                  7               parties herein that the sealing, filing and
             7
                                           1:16-cv-02134-ALC-JLC             8               certification of the within deposition be
             8
                                                                             9               waived; that the original of the deposition
             9    KAVULICH & ASSOCIATES, P.C., GARY
                  KAVULICH, ROSEWALL GARDENS ASSOCIATES, LP,                10               may be signed and sworn to by the witness
            10    F/K/A ROSEWALL GARDENS ASSOCIATES, and
                  ROSEWALL, INC.,                                           11               before anyone authorized to administer an
            11
                                             DEFENDANTS.                    12               oath, with the same effect as if signed
            12    ------------------------------------------X
            13                         DATE:     November 17, 2016          13               before a Judge of the Court; that an

            14                         TIME:     9:30 A.M.                  14               unsigned copy of the deposition may be used
            15                                                              15               with the same force and effect as if signed
            16                 CONTINUED DEPOSITION of the                  16               by the witness, 30 days after service of
            17    Defendants, KAVULICH & ASSOCIATES, P.C. and               17               the original & 1 copy of same upon counsel
            18    GARY KAVULICH, by a witness GARY
                                                                            18               for the witness.
            19    KAVULICH, taken by the Plaintiff, pursuant
                                                                            19
            20    to a Notice of Appearance and to the
                                                                            20                IT IS FURTHER STIPULATED AND AGREED that
            21    Federal Rules of Civil Procedure, held at
                                                                            21               all objections except as to form, are
            22    the Law Office of Ahmad Keshavarz, 16 Court
                                                                            22               reserved to the time of trial.
            23    Street, Brooklyn, New York 11241, before
            24    Elizabeth Forero, a Notary Public of the                  23
            25    State of New York.                                        24                            *     *    *   *
                                                                            25
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  1
  2                A P P E A R A N C E S:                                    1                                  G. KAVULICH

  3                                                                          2               G A R Y K A V U L I C H, called as a
                   LAW OFFICE OF AHMAD KESHAVARZ                             3               witness, having been first duly sworn by a
  4                 Attorneys for the Plaintiff
                    JAMES MORALES                                            4               Notary Public of the State of New York, was
  5                 16 Court Street
                    Brooklyn, New York 11241                                 5               examined and testified as follows:
  6                 BY: AHMAD KESHAVARZ, ESQ.                                6               EXAMINATION BY
                         -and-
  7                    JESSICA MOODY, LAW CLERK                              7               MR. KESHAVARZ:

  8                                                                          8                     Q.    Please state your name for the
                                                                             9               record.
  9                CAMBA LEGAL SERVICES, INC.
                    Co-Counsel for Plaintiff                                10                     A.    Gary Kavulich.
 10                 JAMES MORALES
                                                                            11                     Q.    Where do you reside?
                    885 Flatbush Avenue
 11                 Brooklyn, New York 11226                                12                     A.    147 Grace Church Street, Rye,
                    BY: MELISSA KOVEN, ESQ.
 12                                                                         13               New York 10580.
                                                                            14                     Q.    Good morning. Thank you for
 13
                   MITCHELL L. PASHKIN, ESQ.                                15               coming back. So let's pick up where we
 14                 Attorneys for the Defendants
                    KAVULICH & ASSOCIATES, P.C., GARY                       16               left off before but let's go over
 15                 KAVULICH, ROSEWALL GARDENS ASSOCIATES,
                                                                            17               logistics. I know we are running late.
                    LP, F/K/A ROSEW ALL GARDENS ASSOCIATES,
 16                 ROSEWALL, INC.                                          18               What time do you have to leave today?
                    775 Park Avenue, Suite 255
 17                 Huntington, New York 11743                              19                     A.    2:30.
                    BY: MITCHELL L. PASHKIN, ESQ.                           20                     Q.    I was going through questions,
 18
                                                                            21               but I know we had an agreement before that
 19
                                                                            22               we could use the other deposition testimony
 20                        *      *        *                                23               in this case at least for background
 21
 22                                                                         24               purposes; right?
 23
                                                                            25                           MR. PASHKIN: Yes.
 24
 25                                                                               DIAMOND REPORTING (877) 624-3287 info@diamondreporting.com
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  1                                 G. KAVULICH                             1                               G. KAVULICH
  2                              MR. KESHAVARZ: Would you be                2                   Q.     Are there any other e-mails
  3                      agreeable to use it for all purposes               3              related to Mr. Morales other than what you
  4                      because I don't want to go through                 4              produced in this case?
  5                      all questions that may or may not be               5                   A.     Whatever I had, I gave them to
  6                      background. So can we use it for all               6              Mitch.
  7                      purposes generally?                                7                          MR. KESHAVARZ: You gave them
  8                              MR. PASHKIN: Subject to, you               8                   all over?
  9                      know, my right to object to                        9                          MR. PASHKIN: Right.
 10                      relevance, in other words, is that                10                   Q.     I am showing, and we will it
 11                      fair?                                             11              mark as an exhibit in a second, but tell
 12                              MR. KESHAVARZ: If you objected            12              me, I am showing what has been Bates
 13                      to form before.                                   13              stamped Morales 51, 52.
 14                              MR. PASHKIN: In other words, I            14                          MR. KESHAVARZ: Off the record.
 15                      don't, in other words, I can't, you               15                          (Whereupon, an off-the-record
 16                      want to use it in general, I don't                16                   discussion was held.)
 17                      know exactly how you want to use it.              17                   Q.     Before I mark this as an
 18                      I just want to reserve my rights, in              18              exhibit, I am showing documents Bates
 19                      other words, you try to take a                    19              stamped Morales 51 to 53. Can you identify
 20                      deposition and an answer in that                  20              what these pages are and which ones go
 21                      question and say for whatever reason,             21              together?
 22                      I can't know what you are going to                22                   A.     The first page is information
 23                      do. I want to reserve my right to                 23              subpoena with restraining notice.
 24                      object to its use based on relevance.             24                   Q.     Go through the other pages and
 25                      Is that fair?                                     25              tell me what documents go together.
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  1                                 G. KAVULICH                             1                               G. KAVULICH
  2                              MR. KESHAVARZ: Yes, that                   2                   A.     That goes by itself. This is a
  3                      should help.                                       3              property execution. The second page is, I
  4                      Q.      Mr. Kavulich, were there any               4              guess, it is the actual levy from Marshal
  5               e-mails sent or received regarding Mr.                    5              Bigel to TD Bank.
  6               Morales or his account or any attempt to                  6                   Q.     The levy is Bates stamped 53?
  7               collect on his account?                                   7                   A.     Yes.
  8                      A.      Yes.                                       8                          MR. KESHAVARZ: Let's mark
  9                      Q.      Do you know where those e-mails            9                   these as separate exhibits
 10               are?                                                     10                   Plaintiff's 1, 2, 3.
 11                      A.      Whatever e-mails we have, I               11                          (Whereupon, the aforementioned
 12               gave to Mitch.                                           12                   documents were marked as Plaintiff's
 13                      Q.      I could be mistaken but for the           13                   Exhibits 1, 2 and 3 for
 14               other case we have e-mails. But for this                 14                   identification as of this date by the
 15               case, I don't believe we have e-mails.                   15                   Reporter.)
 16                              MR. PASHKIN: I checked last               16                   Q.     I am showing what has been
 17                      night; it was in my first                         17              marked as Exhibits 1, 2, 3. They were
 18                      Supplemental Response.                            18              Morales 51, 52 and 53. In the process of
 19                              MR. KESHAVARZ: I have a first             19              using the information subpoena and
 20                      Supplemental Response that includes               20              restraint to my client's bank account, tell
 21                      screen shots. That was dated                      21              me what the order is in that process.
 22                      November 8th. That is what I got.                 22                   A.     Fifty-one comes first.
 23                      Then on November 14th, I got an                   23                   Q.     Exhibit 1 comes first?
 24                      accounting and then -- I see it.                  24                   A.     Yes. Then Exhibit 2, and then
 25                      Okay. Thanks.                                     25              from the marshal would be Exhibit 3.
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  1                                G. KAVULICH                             1                              G. KAVULICH
  2                    Q.    For Exhibit 3 the amounts                     2              correct in Plaintiff's 1; is that correct?
  3               listed as due except for poundage are all                3                   A.      Correct.
  4               based on representations you make to the                 4                   Q.      What is, in fact, the amount
  5               marshal about the amount due; is that                    5              due on the judgment on the date you signed
  6               correct?                                                 6              the information subpoena with restraining
  7                    A.    The judgement amount, yes. The                7              notice on March 18, 2015?
  8               interest the marshal calculates. The                     8                   A.      I don't know.
  9               statutory fees the marshal calculates and                9                   Q.      We went through some of the
 10               poundage is calculated by the marshal.                  10              terms before and then we used some
 11                    Q.    Let's go through the first                   11              shorthand. You sign information subpoenas;
 12               step. Number one, the information subpoena              12              correct?
 13               with restraining notice, is that your                   13                   A.      Correct.
 14               signature on the bottom of the document?                14                   Q.      Information subpoenas are not
 15                    A.    Yes.                                         15              necessarily with the bank restraint;
 16                    Q.    Did you sign it on or about the              16              correct?
 17               date indicated, which is March 18, 2015?                17                   A.      Correct.
 18                    A.    I assume I did. I don't                      18                   Q.      Are they typically with a bank
 19               remember signing this particular piece of               19              restraint?
 20               paper.                                                  20                   A.      They are two separate animals.
 21                    Q.    These bank restraint                         21                   Q.      So you have one document called
 22               information subpoenas I believe you                     22              the information subpoena that goes to a
 23               testified in the other case, if I am not                23              bank, usually to say how much money is in
 24               mistaken your staff prints out a stack of               24              the account?
 25               bank restraints, information subpoenas,                 25                   A.      The information subpoena with a
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  1                                G. KAVULICH                             1                              G. KAVULICH
  2               income executions and so forth and you go                2              restraining notice is what goes to the
  3               through the stack and sign them one at a                 3              bank.
  4               time?                                                    4                   Q.      Do you ever send information
  5                    A.    Correct.                                      5              subpoenas without a restraining notice?
  6                    Q.    You said before about the                     6                   A.      Yes. To a bank?
  7               number that you signed per day, but we will              7                   Q.      Yes.
  8               use whatever that transcript section is.                 8                   A.      You didn't say that.
  9               So are all the statements in Exhibit 1 true              9                   Q.      Generally, do you just send
 10               and correct?                                            10              information subpoenas to collect judgments?
 11                    A.    No.                                          11                   A.      To any entity?
 12                    Q.    What statements are not                      12                   Q.      Yes.
 13               correct?                                                13                   A.      Yes.
 14                    A.    That there was a judgement                   14                   Q.      Do you send information
 15               against James Morales.                                  15              subpoenas to banks, just the information
 16                    Q.    Anything else?                               16              subpoena?
 17                    A.    I believe the remaining amounts              17                   A.      Only if we believe someone is
 18               of the judgment is incorrect.                           18              employed with the bank.
 19                    Q.    Anything else?                               19                   Q.      You send out an income
 20                    A.    The index number is missing L &              20              execution; correct?
 21               T.                                                      21                   A.      Yes.
 22                    Q.    Anything else?                               22                   Q.      To collect judgements?
 23                    A.    No.                                          23                   A.      Yes.
 24                    Q.    What you just testified to are               24                   Q.      Are those the three major
 25               the only things that are not true and                   25              mechanisms you use to collect on
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  1                                 G. KAVULICH                                1                                G. KAVULICH
  2               judgements?                                                  2              garnished from Miss Potter, were not
  3                      A.     Information subpoenas,                         3              credited to the amount you were seeking to
  4               information subpoenas with restraining                       4              collect from Mr. Morales?
  5               notices and income executions, yes.                          5                      A.   No, that is not right.
  6                      Q.     If I am going to use the term                  6                      Q.   In what way is that not right?
  7               judgment enforcement devices, would you                      7                      A.   Once it was indicated that the
  8               understand that to mean all three of those?                  8              judgment, one of the judgement enforcement
  9                      A.     Yes.                                           9              devices, was sent, then the marshal should
 10                      Q.     If you are ever unclear, let me               10              have been told that, no, this is not the
 11               know.                                                       11              correct amount.
 12                      A.     Okay.                                         12                      Q.   In what way, is it not the
 13                      Q.     When I say "you," you are                     13              correct amount?
 14               testifying on your own behalf and on behalf                 14                      A.   Because this judgment
 15               of your law firm; correct?                                  15              enforcement device did not account for the
 16                      A.     Yes.                                          16              monies collected from Miss Potter.
 17                      Q.     So when I say you, will you                   17                      Q.   Why not?
 18               understand that to mean both you and the                    18                      A.   Because it was an oversight on
 19               law firm?                                                   19              the person who did this.
 20                      A.     I intellectually understand                   20                      Q.   Who is the person that did
 21               that. But I ask you to be specific as to                    21              this?
 22               who you mean in doing things.                               22                      A.   I signed it and Collin printed
 23                      Q.     When I say you, if you are ever               23              it.
 24               unclear about what you mean, would you ask                  24                      Q.   Your firm is not trying to deny
 25               me to clarify?                                              25              responsibility?
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  1                                 G. KAVULICH                                1                                G. KAVULICH
  2                      A.     Yes.                                           2                      A.   No, not at all.
  3                      Q.     If I ask a question and you                    3                      Q.   You are not personally trying
  4               don't ask me to clarify, is it reasonable                    4              to deny responsibility?
  5               for me to assume you understood the                          5                      A.   No, not at all.
  6               question?                                                    6                      Q.   Now, is the, you talked about
  7                      A.     Yes.                                           7              before Collin is the person in your office
  8                      Q.     We were talking about Exhibit 1                8              who is responsible for deciding when to
  9               the information subpoena and bank                            9              issue a post-judgement enforcement;
 10               restraint. You indicated that the total                     10              correct?
 11               amount claimed to be due was incorrect; is                  11                      A.   The computer brings it up, but
 12               that right?                                                 12              he is the main person who then goes forward
 13                      A.     Yes.                                          13              on a particular case or not. Although
 14                      Q.     How do you know that?                         14              recently now, I am as involved as well.
 15                      A.     Because it came up in, because                15                      Q.   After this lawsuit was filed?
 16               of this.                                                    16                      A.   No, after Collin moved to Laos.
 17                      Q.     In what way what do you mean?                 17                      Q.   About when was that?
 18                      A.     Because there is a second                     18                      A.   The end of May or the beginning
 19               debtor on this case.                                        19              of June of 2016.
 20                      Q.     Clara Potter?                                 20                      Q.   And as I remember from before
 21                      A.     Yes, against whom the judgement               21              your computer program has a number of
 22               is only against. And we had garnished, I                    22              things, but one of the things is judgments
 23               don't know how much, but we had garnished                   23              to be collected upon and on a regular basis
 24               some monies from her.                                       24              it goes through those lists and it pops up
 25                      Q.     Are you saying the monies you                 25              a judgment for review to determine whether
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  1                                G. KAVULICH                                1                                 G. KAVULICH
  2               additional post-judgment enforcement                        2              between post-judgment or civil court. They
  3               mechanisms should be used; is that right?                   3              would give us a list. We would pick up the
  4                     A.    Yes.                                            4              file. We would read the documents and
  5                     Q.    And Collin makes the judgement                  5              proceed accordingly whether it was a
  6               about whether to issue the post-judgment                    6              post-judgment housing court judgement in
  7               enforcement mechanism?                                      7              these cases or a pure civil action.
  8                     A.    He and I.                                       8                   Q.      About how many accounts did
  9                     Q.    Before he left, it was                          9              this plaintiff, Rosewall Garden Associates
 10               primarily he that made the decision about                  10              forward to you for collection?
 11               which post judgment enforcement mechanism                  11                           MR. PASHKIN: Objection to
 12               to issue; correct?                                         12                    relevancy.
 13                     A.    Correct.                                       13                   A.      Maybe a dozen, not many.
 14                     Q.    He made the decision about who                 14                   Q.      During this time you had about
 15               that particular post-judgment enforcement                  15              five thousand judgment accounts to collect?
 16               mechanism should be directed towards;                      16                           MR. PASHKIN: Objection.
 17               correct?                                                   17                   A.      At what time?
 18                     A.    Yes.                                           18                   Q.      You have about five thousand
 19                     Q.    Such as which bank, which                      19              judgments you are collecting on?
 20               employer?                                                  20                   A.      About five thousand.
 21                     A.    Yes.                                           21                   Q.      That's the judgements that come
 22                     Q.    He would decide which of the                   22              up when the computer sends a cue to remind
 23               persons listed on the account here, Clara                  23              Collin to do income executions?
 24               Potter and James Morales here, he would                    24                   A.      To search for assets.
 25               made the decision about which one of those                 25                   Q.      That comes up a few times a
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  1                                G. KAVULICH                                1                                 G. KAVULICH
  2               two to issue the post judgment enforcement                  2              year it pops up for each judgement?
  3               mechanism about?                                            3                   A.      No.
  4                     A.    No, he would not distinguish                    4                   Q.      How often?
  5               between these two because the computer                      5                   A.      Generally, once a year.
  6               already had all the persons on the                          6                   Q.      When Rosewall forwarded the
  7               judgment. So he would have just pursued                     7              account for Miss Potter and Mr. Morales,
  8               both.                                                       8              did it tell you that it was a judgment
  9                     Q.    At what point in time did your                  9              account?
 10               computer have both Mr. Morales and Miss                    10                   A.      There were --
 11               Potter listed as both judgment debtors for                 11                   Q.      Or did it tell you to file a
 12               the account?                                               12              rent suit?
 13                     A.    When the case was entered.                     13                   A.      Again, it does not tell us.
 14                     Q.    What do you mean?                              14              Basically, we get a list. We go to the
 15                     A.    When we initially got the case.                15              file, pull out all the documents for that
 16                     Q.    You got the case from whom?                    16              particular case, and then at the time it
 17                     A.    From our client.                               17              would be given to someone in my office who
 18                     Q.    You got the case from your                     18              would then enter it. We were not given any
 19               client to file a civil action to collect                   19              direction by the incline as to, again,
 20               rent or to engage in post-judgment                         20              proceed on a judgment or do a civil case.
 21               collection activities against both Morales                 21                   Q.      You make that determination
 22               and Potter?                                                22              independently?
 23                     A.    Our client does not, at that                   23                   A.      Correct.
 24               time we don't represent them anymore by the                24                   Q.      Initially, you filed a civil
 25               way, at the time they didn't distinguish                   25              suit to collect rent against Miss Potter
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  1                                 G. KAVULICH                               1                                G. KAVULICH
  2               and Mr. Morales; correct?                                   2              average?
  3                      A.   No, not to my recollection, no.                 3                     A.   Over the court of a year.
  4                      Q.   You didn't file a civil                         4                     Q.   About 20 a week on average over
  5               collection suit?                                            5              the course of a year?
  6                      A.   No.                                             6                     A.   Yes.
  7                      Q.   Did you file a case in civil                    7                     Q.   You sign motions in some of
  8               court to collect a debt from Mr. Morales                    8              these cases?
  9               and Miss Potter?                                            9                     A.   Correct.
 10                      A.   That is not my recollection,                   10                     Q.   Roughly speaking, about how
 11               no.                                                        11              many?
 12                      Q.   We will go through the                         12                     A.   Ten to 15.
 13               documents in a minute. Let's go back to                    13                     Q.   What other documents do you
 14               the amount on Exhibit 1. When Collin                       14              typically sign on average in a week at your
 15               directs these post-judgment enforcement                    15              firm?
 16               mechanisms to be issued -- let's just go                   16                     A.   Demand notices, verifications.
 17               through the numbers you testified before.                  17                     Q.   What else?
 18               Let's see if it is clear. About how many,                  18                     A.   Notices of trial, notices of
 19               just information subpoenas, do you sign                    19              issue, notices of entry.
 20               during this time period in a day or a week                 20                     Q.   Anything else?
 21               or a month, about how many?                                21                     A.   I am sure but none that come to
 22                      A.   I would say approximately                      22              mind.
 23               between, information subpoenas only,                       23                     Q.   Roughly on average about how
 24               between 80 a week. It could be anywhere                    24              many would you say demand letters would you
 25               between 70 and 90, but figure about 80                     25              say?
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  1                                 G. KAVULICH                               1                                G. KAVULICH
  2               average.                                                    2                     A.   Demand notices?
  3                      Q.   On average about how many                       3                     Q.   What is a demand notice?
  4               information subpoenas would the bank                        4                     A.   Really? You are asking me this
  5               restraint, would you sign per week?                         5              question? Before we start a lawsuit, we
  6                      A.   Probably about the same.                        6              have to serve a demand notice.
  7                      Q.   About 80 per week?                              7                     Q.   We are taking a deposition.
  8                      A.   Approximately, yes.                             8              This could be used at trial or summary
  9                      Q.   How many income executions                      9              judgment. So I have to give questions that
 10               would you sign?                                            10              I could present to a jury if need be. So
 11                      A.   That varies month to month.                    11              you have to send a demand notice or your
 12                      Q.   What is the typical range?                     12              office sends a demand notice prior to
 13                      A.   Fifty a month or 60 a month.                   13              filing a lawsuit?
 14                      Q.   So around 15 a week?                           14                     A.   I do, yes.
 15                      A.   Yes.                                           15                     Q.   Do you also do that prior to
 16                      Q.   Then you signed all of the                     16              issuing post-judgment enforcement
 17               pleadings that go out from your office;                    17              mechanisms?
 18               correct?                                                   18                     A.   No.
 19                      A.   Ninety-nine percent.                           19                     Q.   What notice do you sent for
 20                      Q.   You file collection lawsuits;                  20              post-judgment?
 21               correct?                                                   21                     A.   A 5222.
 22                      A.   Correct.                                       22                     Q.   So let's take them one at a
 23                      Q.   But how many a week on average?                23              time. A demand notice, if you were to sign
 24                      A.   It varies. About 20.                           24              about 20 complaints, you would sign about,
 25                      Q.   Is that about an approximate                   25              roughly speaking, around 20 demand notices
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  1                               G. KAVULICH                               1                             G. KAVULICH
  2               or five a week?                                           2                   Q.   On average, would you say 15 a
  3                    A.     Usually or a few more because                 3              week would be an reasonable approximation?
  4               some come back no good or with a bad                      4                   A.   Fifteen to 20.
  5               service address.                                          5                   Q.   Notices of entry a week?
  6                    Q.     About 30 or 40 a week?                        6                   A.   Yes.
  7                    A.     Thirty.                                       7                   Q.   Any other documents other than
  8                    Q.     So a 5222 notice, what do you                 8              those you regularly sign a week?
  9               mean by 5222?                                             9                   A.   There may be but those are the
 10                    A.     It is a notice that goes to the              10              ones that come to mind.
 11               judgment debtor before we send out the                   11                   Q.   But most of the time at your
 12               judgment enforcement devices.                            12              office, you are not signing a stack of
 13                    Q.     Do you send those out once a                 13              documents, you are doing other things or
 14               year?                                                    14              you tell me?
 15                    A.     No, only when we do the work.                15                   A.   Most of the time, meaning more
 16                    Q.     So if you sign roughly 80                    16              than 50 percent, yes, I am doing other
 17               information subpoenas a week, 80                         17              things.
 18               information subpoenas with bank restraints               18                   Q.   In a typical week, what do you
 19               a week, and 15 wage garnishments a week,                 19              do on a typical day?
 20               would you sign about 175, 5222 notices a                 20                   A.   I open cases, search for new
 21               week or would you sign a little more than                21              addresses, intra-office meetings, go to
 22               that?                                                    22              clients, go to court, although I try to
 23                    A.     No, it would be whatever we do.              23              keep that to a minimum, review lists,
 24               If it is 80 bank restraints, then there are              24              trouble-shot problems as they come up,
 25               80 of those.                                             25              respond or engage in various
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  1                               G. KAVULICH                               1                             G. KAVULICH
  2                    Q.     Adding up those numbers, this                 2              communications, e-mail, meet with clients,
  3               is roughly, your office sends out about 175               3              debtors, courts.
  4               5222 notices a week?                                      4                   Q.   Any other major activities that
  5                    A.     If that's what matches the                    5              you do?
  6               numbers, yes.                                             6                   A.   That pretty much covers it.
  7                    Q.     You said verifications. What                  7                   Q.   Do you know approximately on
  8               do you mean by verifications?                             8              average what percentage of your time you
  9                    A.     If we receive a dispute from a                9              spend going to court?
 10               debtor we send a verification of the debt.               10                   A.   Now, 10 percent a year.
 11                    Q.     Do you send that both to oral                11                   Q.   Now, you go about 10 percent of
 12               and written disputes?                                    12              your time a week, on average, you go to
 13                    A.     Yes.                                         13              court; correct?
 14                    Q.     Approximately how many of those              14                   A.   Yes.
 15               do you send a week?                                      15                   Q.   And a year ago you were going
 16                    A.     One maybe.                                   16              approximately how many times per week,
 17                    Q.     You said notices of trial,                   17              would you go to court?
 18               approximately how many notices of trial                  18                   A.   About a year ago about 25
 19               would you send out and sign in a week?                   19              percent. Two years before that it was 40
 20                    A.     Two.                                         20              percent. It has been decreasing since the
 21                    Q.     You said notices of entry,                   21              last five years.
 22               about how many notices of entry do you sign              22                   Q.   Why is that?
 23               in a week?                                               23                   A.   Because court is not an
 24                    A.     Fifteen or 20. It is more than               24              efficient use of my time or anyone else's.
 25               a couple.                                                25                   Q.   So going back to 2015, you said
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  1                               G. KAVULICH                               1                            G. KAVULICH
  2               you spent about 25 percent of your time in                2              doing that?
  3               court?                                                    3                   A.   When?
  4                      A.   About 25.                                     4                   Q.   Now.
  5                      Q.   Now, opening cases, what do you               5                   A.   Ten percent.
  6               mean by opening cases?                                    6                   Q.   What that true in 2015?
  7                      A.   Client sends in a case or we go               7                   A.   Yes.
  8               and pick up a case. I review the file. I                  8                   Q.   In 2008, was that roughly true?
  9               enter the necessary information into our                  9                   A.   It was a lot more. I can't
 10               system and calendar it ahead accordingly.                10              quantify it, but it was a lot more.
 11                      Q.   What percentage of your week do              11                   Q.   You said you review lists, what
 12               you spend doing that?                                    12              do you mean by that?
 13                      A.   Fifteen percent maybe.                       13                   A.   Review the ticklers.
 14                      Q.   Is that true in 2015?                        14                   Q.   That is the computer pop-up
 15                      A.   Yes.                                         15              that happens on a regular basis, for
 16                      Q.   You said you search for new                  16              example, to collect on judgements?
 17               addresses; correct?                                      17                   A.   That is one example, yes.
 18                      A.   Yes.                                         18                   Q.   What are other examples?
 19                      Q.   Approximately what percentage                19                   A.   If a summons and complaint is
 20               of your time do you spend doing that?                    20              due to be issued.
 21                      A.   That's included in opening                   21                   Q.   When is that tickler sent out?
 22               cases.                                                   22                   A.   Forty days after we issue the
 23                      Q.   You do intra office meetings,                23              demand notice.
 24               generally what does that entail?                         24                   Q.   What other major lists do you
 25                      A.   I would speak to the staff                   25              review?
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  1                               G. KAVULICH                               1                            G. KAVULICH
  2               members about what they are doing and                     2                   A.   If a notice of trial is due.
  3               address the issues relevant to their job                  3              There are not that many. There are not
  4               tasks.                                                    4              that many job tasks. I should not say job
  5                      Q.   Approximately what percentage                 5              tasks. There are not that many categories.
  6               of your week do you spend doing that?                     6              Review a file to see if or to look for a
  7                      A.   Probably 10 or 15 percent.                    7              new address. If a summons is due, if a
  8                      Q.   Was that true in 2015?                        8              judgment is due, if we you execute on a
  9                      A.   Maybe 10 percent. We were a                   9              judgment, if a motion is due, and then a
 10               little bit busier.                                       10              notice of issue or a notice of trial.
 11                      Q.   You will find out later in the               11                   Q.   So approximately what
 12               deposition about why I am asking this                    12              percentage of your week is spend doing that
 13               question but around 2008, about what                     13              now?
 14               percentage of your time was used on                      14                   A.   Ten or 15 percent.
 15               intra-office meetings?                                   15                   Q.   Was that true in 2015?
 16                      A.   Probably the same. I don't                   16                   A.   Most likely, yes.
 17               know. It is eight years ago.                             17                   Q.   Is that true in 2008?
 18                      Q.   I am trying to get a rough                   18                   A.   Yes, probably.
 19               estimate. You said going to court was                    19                   Q.   Troubleshoot problems,
 20               greater before back in 2008. About what                  20              approximately how much time do you spend a
 21               percentage of your time were you spending                21              week doing that?
 22               then?                                                    22                   A.   Twenty-five percent.
 23                      A.   Fifty percent.                               23                   Q.   Is that true in 2015
 24                      Q.   Going to client meetings, about              24              approximately?
 25               what percentage of your time did you spend               25                   A.   Probably.
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  1                                 G. KAVULICH                             1                                G. KAVULICH
  2                    Q.     Approximately speaking, would                 2              other words, client A, if they had started
  3               that be true in 2008?                                     3              a case with Gutman Mintz, they stayed with
  4                    A.     You know, I can't tell you.                   4              Gutman Mintz. Any new cases that client A
  5                    Q.     You said responding to                        5              would place, they would place it with me.
  6               communications e-mails and so forth from                  6              No monies changed hands. That is how it
  7               consumers and clients, approximately what                 7              was resolved.
  8               percentage of your time per week do you                   8                   Q.    About how many accounts or
  9               spend doing that?                                         9              cases came with you then from Gutman Mintz?
 10                    A.     Ten or 15. Maybe it is a                     10                         MR. PASHKIN: Objection to
 11               little bit more.                                         11                   relevancy.
 12                    Q.     Was that true in 2015, roughly               12                   A.    Came from Guttman?
 13               speaking?                                                13                   Q.    Yes.
 14                    A.     Most likely, yes.                            14                   A.    I don't know if any. I a
 15                    Q.     And roughly speaking, is that                15              handful.
 16               true in 2008?                                            16                   Q.    But some of the clients came
 17                    A.     2008 is a blur. I had just                   17              over with you?
 18               opened up my own office in 2007. Shortly                 18                   A.    Yes.
 19               thereafter I was sued by my old firm, even               19                   Q.    Those clients, about how many
 20               though I didn't do anything wrong. I was                 20              cases did you do with them after they came
 21               going through a divorce. It was a crazy                  21              to you?
 22               time.                                                    22                         MR. PASHKIN: Objection to
 23                    Q.     So you were just getting                     23                   relevancy.
 24               everything set up back in 2007?                          24                   Q.    Were they the major source of
 25                    A.     Yes.                                         25              your cases?
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  1                                 G. KAVULICH                             1                                G. KAVULICH
  2                    Q.     We don't need to go into                      2                         MR. PASHKIN: Objection.
  3               details. I think you testified before your                3                   A.    No.
  4               old firm was Gutman & Mintz?                              4                   Q.    Of your week you did doing
  5                    A.     Yes.                                          5              various tasks signing all of the documents
  6                    Q.     They were trying to send a shot               6              that we talked about, post-judgment
  7               across the bow so other attorneys would not               7              enforcement mechanisms demand letters, 5222
  8               leave?                                                    8              notices, the information subpoenas, wage
  9                    A.     As well as punishing me.                      9              garnishments, and all the other things we
 10                    Q.     And so you wouldn't take away                10              talked about, so would those, they give
 11               clients?                                                 11              those to you in a stack and you go through
 12                           MR. PASHKIN: Objection to                    12              them one at a time, you start signing them?
 13                     relevancy.                                         13                   A.    Say that again. My office is
 14                    A.     I am sure that was part of it.               14              down. That is taking a little bit of my
 15                    Q.     Any other reasons?                           15              attention away.
 16                           MR. PASHKIN: Objection to                    16                   Q.    All those documents you signed,
 17                     relevance.                                         17              they give them in a stack to you and you
 18                    A.     No.                                          18              just sign them one at a time?
 19                    Q.     What happened was that suit?                 19                   A.    Yes.
 20                    A.     The clients that decided to                  20                   Q.    Roughly speaking, you spend
 21               come with me, came with me. The bigger                   21              about an hour a week signing all those
 22               issue for me at the time was whether those               22              things or how long?
 23               client's cases that had already been placed              23                   A.    I don't know how much time it
 24               with Gutman Mintz, whether or not they came              24              is. I don't time it.
 25               with me or not and they did not. So, in                  25                   Q.    Generally speaking do you
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  1                                G. KAVULICH                               1                               G. KAVULICH
  2               review any of the information of the                       2                   A.      Correct.
  3               documents you sign or pretty much just sign                3                   Q.      Exhibit 2, if you look at it
  4               what is in front of you generally?                         4              that was created by your office; correct?
  5                      A.   Generally speaking, I sign what                5                   A.      Yes.
  6               is in front of me.                                         6                   Q.      If you look underneath the
  7                           MR. KESHAVARZ: Let's take a                    7              addresses, where it says whose last known
  8                      break now.                                          8              address is, and it has the address, do you
  9                           (Whereupon, a short recess was                 9              see that?
 10                      taken.)                                            10                   A.      Yes.
 11                      Q.   Going back to Exhibit 1, the                  11                   Q.      And beneath that it says, in
 12               information subpoena and bank restraint.                  12              the amount of, that is the amount due on
 13               The amounts that are claimed that are due                 13              the judgment?
 14               are spit out by your computer; is that                    14                   A.      Not according to this.
 15               right?                                                    15                   Q.      In what way?
 16                      A.   Correct.                                      16                   A.      It says zero is due.
 17                      Q.   I want to ask you about, where                17                   Q.      It says in that sentence, read
 18               it says on the bottom of the first                        18              that sentence.
 19               paragraph, I take that back, if you look at               19                   A.      In the amount of $4,352.74
 20               Exhibit 2, the execution with notice to                   20              including costs of which zero dollars
 21               garnishee, what is an execution to                        21              interest thereon from March 13, 2008
 22               garnishee?                                                22              remains due and unpaid. So it says zero is
 23                      A.   That is what we sent to the                   23              due on it.
 24               marshal.                                                  24                   Q.      It says zero is due or zero
 25                      Q.   The marshal forwards that to                  25              interest is due?
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  1                                G. KAVULICH                               1                               G. KAVULICH
  2               the judgement debtor; correct?                             2                   A.      It says zero, if you read the
  3                      A.   To judgment debtor and I                       3              whole sentence remains due and unpaid and
  4               believe the garnishee.                                     4              the last number is zero in that line.
  5                      Q.   Because the marshal is required                5                   Q.      Well, let's move up because it
  6               to do that under the CPLR; correct?                        6              says in the amount of, that is continuing a
  7                      A.   Correct.                                       7              few lines up, where it says who are all of
  8                      Q.   When you sign Exhibit 2 you                    8              the parties named in said action judgment,
  9               intend that the marshal forward Exhibit 2                  9              was entered on March 13, 2008. Then skip
 10               to Mr. Morales; correct?                                  10              down to in the amount of, is that supposed
 11                      A.   Yes.                                          11              to be all part of the same sentence?
 12                      Q.   Exhibit 1, does that get                      12                   A.      Yes.
 13               forwarded to the consumer?                                13                   Q.      In essence what this is saying
 14                      A.   Yes, I believe it does, yes.                  14              is there was a judgment entered on March
 15                      Q.   Does it get forwarded by the                  15              13, 2008, in the amount of $4,352.74?
 16               marshal to the consumer?                                  16                   A.      Correct.
 17                      A.   By the bank.                                  17                   Q.      Including costs; correct?
 18                      Q.   Because the bank is required to               18                   A.      Correct.
 19               send a copy of the information subpoena                   19                   Q.      Well, when you read the
 20               with restraint notice to the consumer?                    20              sentence --
 21                      A.   Yes.                                          21                   A.      It is a computer error.
 22                      Q.   So when you signed Exhibit 1,                 22              Something got screwed up.
 23               you knew and intended that Exhibit 1 would                23                   Q.      Exhibit 2 is a form generated
 24               be forwarded to the consumer by the bank;                 24              by your office; correct?
 25               correct?                                                  25                   A.      Correct.
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  1                              G. KAVULICH                                  1                                G. KAVULICH
  2                    Q.    You set up the template for it?                  2                   Q.     So if you are saying Exhibit 2
  3                    A.    Correct.                                         3              has an error in the text, the format of the
  4                    Q.    Computer just fills in all of                    4              text, and that is true for 2014 to present;
  5               the numbers and the names; correct?                         5              correct?
  6                    A.    Fills in the variable fields                     6                   A.     I don't know that for sure. I
  7               names of the parties, et cetera, yes.                       7              know on this one it is an error.
  8                    Q.    Index number, so forth?                          8                   Q.     Did you change your template
  9                    A.    Correct.                                         9              for the execution?
 10                    Q.    But the template of the text,                   10                   A.     No.
 11               other than the specifics of the consumer,                  11                   Q.     So the error in the text here,
 12               that text is established by your office;                   12              would be an error in the text for
 13               correct?                                                   13              everything for 2014 forward?
 14                    A.    Yes.                                            14                   A.     That is a reasonable assumption
 15                    Q.    Are you saying there is some                    15              but an assumption.
 16               error in how the text is set up for Exhibit                16                   Q.     Just to be clear, because we
 17               2?                                                         17              talked about data fields, what specifically
 18                    A.    It is definitely inartfully                     18              in the template of the text, not the
 19               written.                                                   19              variables of Mr. Morales, is incorrect or
 20                    Q.    In what way?                                    20              inartful?
 21                    A.    It should say something of the                  21                   A.     I just told you.
 22               sort in amount of four thousand, a                         22                   Q.     That it should say the
 23               judgement amount including costs and                       23              judgement was entered on a certain date and
 24               interest of which blank dollars, and fill                  24              the next line should be in the amount of;
 25               in the blank, remains due and unpaid.                      25              correct?
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  1                              G. KAVULICH                                  1                                G. KAVULICH
  2                    Q.    Looking at the execution with                    2                   A.     Yes.
  3               notice to garnishee, how much, in reading                   3                   Q.     So, in that sentence it says
  4               this document, what do you believe this                     4              zero dollars interest thereon, so are you
  5               document says as to how much is due?                        5              saying zero dollars interest, does that
  6                    A.    Zero.                                            6              mean how much interest is occurring?
  7                    Q.    If the amount of zero was due,                   7                   A.     What is the question? I am
  8               why did you sign and send it for execution?                 8              saying what?
  9                    A.    I made a mistake.                                9                   Q.     Let me rephrase the question.
 10                    Q.    Why?                                            10                   A.     I told you already what I said,
 11                    A.    I don't know why. I don't                       11              what I believe this says. I also told you
 12               remember from May or April of 2015.                        12              what I believe that it should say. I don't
 13                    Q.    Is the template that is Exhibit                 13              know what more or less I could add to that.
 14               2 the same template you use today?                         14                   Q.     Let me be more specific right
 15                    A.    I believe so.                                   15              now. When it says of which zero dollars
 16                    Q.    This is a template you have                     16              interest thereon from a certain date, where
 17               used for many years?                                       17              it says zero dollars interest, that means
 18                    A.    Since 2014.                                     18              there is zero dollars interest accruing;
 19                    Q.    So if you believe there is                      19              correct?
 20               something wrong with the text of the form                  20                   A.     The way it is written, yes.
 21               that has been in error for all the                         21                   Q.     So the way it is written, it is
 22               executions with notice to garnishee from                   22              saying there is an amount due of $4,300 but
 23               2014 to present; correct?                                  23              there is no interest accruing on it?
 24                    A.    I didn't hear a question in                     24                   A.     No, and I answered that
 25               there.                                                     25              question already.
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  1                               G. KAVULICH                                   1                               G. KAVULICH
  2                      Q.   Where it says in the amount of                    2              that belongs before that zero, but that's
  3               $4,300, what about that is unclear?                           3              the way I read it, and you may disagree
  4                      A.   I told you already.                               4              with me, but that's the way I read it.
  5                           MR. PASHKIN: Asked and                            5                   Q.      The clause "interest thereon"
  6                      answered. We keep going around in                      6              should be moved to where?
  7                      circles. You are asking him to                         7                   A.      After including costs, with
  8                      interpret a document. He has given                     8              interest thereon.
  9                      you his interpretation. The document                   9                   Q.      What about the phrase of which,
 10                      says what it says.                                    10              does that get deleted?
 11                      Q.   I am trying to narrow down a                     11                   A.      That would be after. Interest
 12               specific phrase one at a time.                               12              thereon from the date, the entry date is a
 13                      A.   I have already done that.                        13              clause which should be after the word
 14                      Q.   I am not sure you have. Let's                    14              "costs." That after which should follow of
 15               do it and get it out of the way?                             15              which X amount of dollars remains due and
 16                      A.   Let's move on to something                       16              unpaid. This clause simply has to go after
 17               else. I have acknowledged this is wrong.                     17              costs the way it is presently constructed.
 18               I have acknowledged it was inartful. I                       18                   Q.      Are you saying that the
 19               told you what it should be. And I told you                   19              template that has these phrases, that
 20               what it says.                                                20              template should be rearranged?
 21                      Q.   Let's break down a specific                      21                   A.      I am saying, yes. I said that
 22               phrase, where it says there was a judgment                   22              already.
 23               entered on the date in the amount of                         23                   Q.      You clarified it. Thank you.
 24               $4,300?                                                      24              Since this FDCPA action has been filed,
 25                      A.   You asked that already, and I                    25              have you changed the template that is in
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  1                               G. KAVULICH                                   1                               G. KAVULICH
  2               acknowledged that.                                            2              Exhibit 2?
  3                      Q.   When it says in the amount of                     3                   A.      No, but I will today or
  4               $4,300, this is stating the judgement was                     4              tomorrow when I get back. That being said,
  5               $4,300; is that correct?                                      5              I don't know about the other ones, this
  6                      A.   Correct.                                          6              could be, this is a form but forms get
  7                      Q.   Then it says zero dollars in                      7              screwed up sometimes too.
  8               interest; correct?                                            8                   Q.      But the data inputs I am more
  9                      A.   It says zero dollars interest                     9              interested in. So you are saying on the
 10               thereon from March 13, 2008.                                 10              date of the signature here April 27, 2015
 11                      Q.   Then it says remains due;                        11              there was zero dollars remaining on the
 12               correct?                                                     12              judgement; correct?
 13                      A.   And unpaid, correct.                             13                   A.      That is the way I read this.
 14                      Q.   So why does that not mean there                  14                   Q.      But putting aside how you read
 15               is an amount of $4,300 due, no interest and                  15              it, let me ask you a factual question, is
 16               that amount remains due and unpaid?                          16              it the position of your firm and yourself
 17                      A.   That is not the way I read it.                   17              as of April 27, 2015, the judgment was
 18               I don't know how many ways you want me to                    18              entirely satisfied, is that what you are
 19               say it. I read it and I am acknowledging                     19              saying?
 20               it was a mistake. So I don't know really                     20                   A.      No. I am saying there wasn't a
 21               what, I mean we can move on to to more                       21              judgement against Mr. Morales.
 22               productive things. Forty-three hundred and                   22                   Q.      You're saying it was a judgment
 23               change is the judgement amount, of which                     23              against Clara Potter, not Mr. Morales?
 24               zero remains due and unpaid. The interest                    24                   A.      In addition to there not being
 25               thereon from March 13, 2008 is a clause                      25              a judgment against Mr. Morales. There was
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  1                                 G. KAVULICH                                1                              G. KAVULICH
  2               a judgement against Clara Potter.                            2              the statute of limitations on contracts in
  3                    Q.     Was the judgment against Clara                   3              New York State and Mr. Morales' statement
  4               Potter due in the amount of $4,352.74 when                   4              he signed the lease, it would be six years
  5               you signed this document on or about April                   5              from when the debt started accruing.
  6               27, 2015?                                                    6                   Q.     When was that date for Morales?
  7                    A.     It was some number less than                     7                   A.     I don't remember. Obviously,
  8               that because there were payments from an                     8              some time before May of 2008.
  9               income execution, the exact amount of which                  9                   Q.     The statute of limitations
 10               I don't know.                                               10              began.
 11                    Q.     Was the number zero?                            11                   A.     The statute of limitations
 12                    A.     No.                                             12              began running sometime before May of 2008.
 13                    Q.     How do you know that?                           13                   Q.     Does Exhibit 1 indicate,
 14                    A.     From my recollection.                           14              provide information to you to determine
 15                           MR. KESHAVARZ: Mark this as                     15              when the statute of limitations expired for
 16                    Plaintiff's 4.                                         16              the alleged debt from Mr. Morales to
 17                           (Whereupon, the aforementioned                  17              Rosewall?
 18                    document was marked as Plaintiff's                     18                   A.     Exhibit 1 is not informative as
 19                    Exhibit 4 for identification as of                     19              to that.
 20                    this date by the Reporter.)                            20                   Q.     Exhibit 4?
 21                    Q.     I am showing you what has been                  21                   A.     It gives me a range, yes.
 22               marked as Plaintiff's 4 and Bates stamped                   22                   Q.     What is that range?
 23               Kavulich parenthesis Morales, 1 through 3                   23                   A.     Sometime after October of 2007.
 24               from your attorney's office. Can you                        24                   Q.     Sometime after October of 2007,
 25               identify what Exhibit 4?                                    25              six years the statute of limitations began
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  1                                 G. KAVULICH                                1                              G. KAVULICH
  2                    A.     This is our snapshot.                            2              to start?
  3                    Q.     It is the collection notes on                    3                   A.     Correct, began to run, yes.
  4               the punitive judgement account; correct?                     4                   Q.     Do you or your firm have a
  5                    A.     Say that again.                                  5              document in your possession that would
  6                    Q.     Let me rephrase that. Is it                      6              indicate to your firm the date that the
  7               your position you and your firm that Mr.                     7              statute of limitation would begin and would
  8               Morales owes any amount to Rosewall?                         8              expire?
  9                    A.     Mr. Morales owes any money to                    9                   A.     More exactly, yes.
 10               Rosewall. He did but he does not now                        10                   Q.     What document would have that?
 11               because of the stature of limitations. He                   11                   A.     The lease and the breakdown.
 12               owed money. It wasn't in a judgment form.                   12                   Q.     The breakdown of what?
 13               But he owed money. Because it was in a                      13                   A.     Of the arrears.
 14               judgment form, we did not sue him civilly,                  14                   Q.     That breakdown of the arrears
 15               to my recollection. And because it was                      15              is provided to your office by Rosewall;
 16               determined subsequently to the expiration                   16              correct?
 17               of statute of limitations, he didn't owe                    17                   A.     Yes.
 18               the money. It is not because there was not                  18                   Q.     Now, there are some prior
 19               an original debt.                                           19              depositions you were not here for by
 20                    Q.     What is your position about the                 20              Rosewall's corporate representative. Is it
 21               date the statute of limitations ran as to                   21              your understanding that all of the
 22               the punitive debt by Mr. Morales to                         22              communications on behalf of Rosewall go
 23               Rosewall?                                                   23              through a property management company?
 24                    A.     From my recollection, it was,                   24                   A.     I can't account for all
 25               from my recollection in this case, to both                  25              corporate communications.
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  1                                G. KAVULICH                                 1                            G. KAVULICH
  2                       Q.   All your communications with                    2                   Q.   That was primarily what you did
  3               Rosewall go through a property management                    3              there?
  4               company?                                                     4                   A.   And collections, yes.
  5                       A.   As far as us, yes.                              5                   Q.   How do you distinguish
  6                       Q.   To your knowledge, you don't                    6              collections from landlord-tenant?
  7               know anyone at Rosewall Gardens?                             7                   A.   In my world collections are
  8                       A.   Correct.                                        8              post tenancy. Landlord-tenant would be
  9                       Q.   When you collect on debts that                  9              while the person is actually a tenant.
 10               are not a judgment, when you do that, you                   10                   Q.   When you file landlord-tenant
 11               send out collection letters; correct?                       11              action, you are trying to evict the tenants
 12                       A.   Yes.                                           12              from the property; correct?
 13                       Q.   What other ways do you do that?                13                   A.   No. We are trying to collect
 14                            MR. PASHKIN: Objection to                      14              rent money.
 15                       relevance.                                          15                   Q.   You file a landlord-tenant
 16                       A.   We send a letter. If we, in                    16              action to collect rent money?
 17               fact, have a good address for service, we                   17                   A.   That is the hope.
 18               commence a lawsuit.                                         18                   Q.   Are you also trying to get
 19                       Q.   Now looking at Exhibit 1 going                 19              judgement of possession of the property?
 20               from the bottom, when was the accounts for                  20                   A.   In the absence of payment, yes.
 21               Miss Potter and Mr. Morales given to you by                 21                   Q.   What is a judgment of
 22               Rosewall?                                                   22              possession?
 23                       A.   I have to see Exhibit 4. In or                 23                   A.   It is a judgement which allow
 24               around March of 2008.                                       24              the property owner to, along with other
 25                       Q.   You believe that because the                   25              things, regain possession of the space.
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  1                                G. KAVULICH                                 1                            G. KAVULICH
  2               third page of your document production says                  2                   Q.   When you say regain possession,
  3               that?                                                        3              do you mean evict tenant that is there or
  4                       A.   Yes.                                            4              what do you mean by that?
  5                       Q.   You are looking at the bottom                   5                   A.   That is one of the measures
  6               line?                                                        6              that a landlord could take, yes, based on
  7                       A.   Yes.                                            7              that judgement of possession.
  8                       Q.   An entry of March 13, 2008?                     8                   Q.   Is that the primary purpose of
  9                       A.   Yes.                                            9              getting a judgement of possession?
 10                       Q.   Where it says prior judgement                  10                   A.   The primary purpose is a step
 11               for $300, that is something your staff puts                 11              in the procedure.
 12               in your computer system based on the                        12                   Q.   In order to force a tenant out
 13               documents provided to your office by                        13              of a property, you have to get a judgement
 14               Rosewall?                                                   14              of possession?
 15                       A.   Yes.                                           15                   A.   Among other things but, you,
 16                       Q.   In the prior deposition, I                     16              that is the primary step.
 17               think you testified when you worked at                      17                   Q.   So it is common to file a
 18               Guttman & Mintz you primarily did                           18              landlord-tenant action against more than
 19               landlord-tenant lawsuits, correct?                          19              one individual; correct?
 20                       A.   When I worked for Gutman Mintz                 20                   A.   That is my secondhand
 21               I wore a number of different hats.                          21              experience. I never filed a
 22                       Q.   Was there a primary litigation                 22              landlord-tenant action.
 23               purpose?                                                    23                   Q.   When you said you did
 24                       A.   The firm's primary practice was                24              landlord-tenant work, what did you mean?
 25               landlord-tenant.                                            25                   A.   I would go to court and write
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  1                                  G. KAVULICH                                 1                              G. KAVULICH
  2               stipulations.                                                  2                   Q.    Back in 2008, when this account
  3                        Q.   So Gutman Mintz, the firm you                    3              was given to you by Rosewall, your firm did
  4               worked for at the time, would file                             4              not charge to see if there was a money
  5               landlord-tenant lawsuits; correct?                             5              judgment entered against all of the
  6                        A.   Yes.                                             6              defendants; is that true?
  7                        Q.   You were one of the attorneys                    7                   A.    No, my recollection is that the
  8               at Gutman Mintz; correct?                                      8              woman who entered, the person who entered
  9                        A.   Yes.                                             9              the case believed there was a judgement
 10                        Q.   You would go to court because                   10              against both.
 11               of the lawsuits, landlord-tenant lawsuits                     11                   Q.    Well, let me ask you this if
 12               your firm filed?                                              12              you know, back in March of 2008 when you
 13                        A.   Yes.                                            13              got the account for collections from
 14                        Q.   So you were involved in the                     14              Rosewall, was it your office's procedure to
 15               landlord-tenant lawsuits that Gutman Mintz                    15              check to see if there was a money judgement
 16               filed?                                                        16              against all of the defendants in the
 17                        A.   Yes, to the extent of, all I                    17              landlord-tenant action?
 18               did, I would not even know how to file a                      18                   A.    Yes.
 19               notice of petition, all I did was go to                       19                   Q.    In 2008, you knew, you and your
 20               court and write a stipulation or argue a                      20              firm knew that you would only get a money
 21               motion. I never did trials.                                   21              judgment against consumer in a
 22                        Q.   By stipulation, what do you                     22              landlord-tenant action if that consumer
 23               mean?                                                         23              actually appeared in court; correct?
 24                        A.   Payment agreements between the                  24                   A.    No. First of all, I knew that.
 25               parties.                                                      25              The woman who entered the cases knew that.
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  1                                  G. KAVULICH                                 1                              G. KAVULICH
  2                        Q.   If there is a landlord-tenant                    2              That is one of the reasons we hired her,
  3               suit against multiple tenants or multiple                      3              she had experience on the landlord-tenant
  4               defendants, is it true you can only get a                      4              side. But back then in 2008, it surely
  5               money judgement if that tenant appears on                      5              wasn't my understanding that both parties
  6               the court date; is that true?                                  6              had to appear in order for there to be a
  7                        A.   Nowadays that's true.                            7              judgment, a money judgment in a
  8                        Q.   Is that true as of 2008?                         8              landlord-tenant action, because that wasn't
  9                        A.   I can't give you an exact                        9              my experience. That has unfolded and been
 10               delineation of the time. But I know years                     10              a court practice later. That being said, a
 11               ago that that was not the case. Now it is                     11              case can be given to us by a client with
 12               where if you have two tenants, two                            12              two people on the lease and one person may
 13               lease-holders, you are absolutely correct,                    13              leave or somehow remove him or herself from
 14               both tenants have to appear in court. But                     14              the landlord-tenant relationship. So we
 15               going back, I don't remember exactly what                     15              still review the file to make sure that
 16               years but even after this lawsuit, I                          16              both people are actual debtors.
 17               remember there being cases where it would                     17                   Q.    When you said the person who
 18               turn out later, I would get a housing court                   18              enters the information into your computer
 19               judgement from a client or we pull it from                    19              system, do your records indicate who that
 20               the file or whatever, and both names would                    20              was for the Rosewall file regarding Miss
 21               be on it but after engaging in litigation                     21              Potter or Mr. Morales that you got in March
 22               and court appearance and find out only one                    22              of 2008?
 23               of those tenants showed up, yes, the clerk                    23                   A.    My records don't necessarily
 24               entered a judgement again both, a money                       24              show that definitively. But I know who it
 25               judgment against both of them.                                25              was. I forget her last name. Mercedes.
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  1                                  G. KAVULICH                               1                                G. KAVULICH
  2               We hired her about January or February of                    2              about, until I hired her, I used to enter
  3               that year.                                                   3              the cases. And I just decided we were very
  4                      Q.    January or February of 2008?                    4              busy and people's responsibilities were
  5                      A.    Yes.                                            5              stretched.
  6                      Q.    Is this from the prior                          6                     Q.   What qualifications did
  7               deposition, they are sisters that worked                     7              Mercedes have when she began to work for
  8               there?                                                       8              you?
  9                      A.    No.                                             9                     A.   She was the legal point person
 10                      Q.    That a different person?                       10              for a large housing company.
 11                      A.    Those are different people.                    11                     Q.   Which one?
 12                      Q.    You said Mercedes started                      12                     A.   Sepco Development in the Bronx.
 13               working for your firm in January or                         13                     Q.   Is that a property management
 14               February of 2008?                                           14              company?
 15                      A.    Yes.                                           15                     A.   Yes.
 16                      Q.    When did she cease working for                 16                     Q.   Do you know how long she worked
 17               your firm?                                                  17              there before you hired her?
 18                      A.    March or April or May of 2011.                 18                     A.   I don't know exactly, but for a
 19                      Q.    What were her primary                          19              long time.
 20               responsibilities when she worked for you?                   20                     Q.   Do you know about how old she
 21                      A.    Her primary, first and foremost                21              was when she started working for you? Was
 22               responsibility was entering the cases.                      22              she out of high school, in her 20s or 40s?
 23                      Q.    What do you mean by entering                   23                     A.   I know she had at the time a
 24               the cases?                                                  24              high school age daughter.
 25                      A.    I would get the file from the                  25                     Q.   Do you know if she graduated
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  1                                  G. KAVULICH                               1                                G. KAVULICH
  2               client or some other way in the mail or                      2              from high school?
  3               however it would come to me. Then I would                    3                     A.   Do I know whether she graduated
  4               give it to her to enter the name of the                      4              from high school? No.
  5               parties and how much was owed.                               5                     Q.   What training did Mercedes have
  6                      Q.    So she would be the person who                  6              to determine whether a case should be
  7               would determine whether it was a debt for                    7              entered for collection and rent as opposed
  8               rent that you had to file a civil suit for,                  8              to enforcement of the judgement?
  9               as opposed to judgment enforcement?                          9                     A.   Years.
 10                      A.    Generally, yes.                                10                     Q.   What experience?
 11                      Q.    She would make that decision?                  11                     A.   Years, this housing company, I
 12                      A.    Yes.                                           12              don't know then it might have been
 13                      Q.    You would not tell her which                   13              twenty-five hundred, but somewhere between
 14               one it is?                                                  14              twenty-five hundred and three thousand
 15                      A.    No, especially me at this time.                15              apartments were under their management. It
 16                      Q.    Why do you say that?                           16              is Father Gigante in the Bronx. He worked
 17                      A.    Because I was only open less                   17              there for many years, and she was their
 18               than a year and I was trying to build a                     18              liaison with their landlord-tenant counsel.
 19               business and I was wearing many more hats                   19              She would put cases into legal follow-up
 20               than I do now.                                              20              and deal with all the legal aspects of the
 21                      Q.    Would it be fair to say when                   21              case.
 22               you first opened your practice in 2008,                     22                     Q.   Is she an attorney?
 23               your office was just starting up and was in                 23                     A.   No.
 24               a jumble?                                                   24                     Q.   Did she have any formal
 25                      A.    No. I am saying up until                       25              training or legal training?
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  1                                G. KAVULICH                                   1                              G. KAVULICH
  2                       A.   I don't know.                                     2              aren't really relevant to collection
  3                       Q.   Did she have any legal                            3              actions to the extent that the collection
  4               training?                                                      4              actions that we engage in and engaged in
  5                       A.   I don't know. What do you mean                    5              2008 were all post possession cases,
  6               by legal training?                                             6              meaning that the tenants/debtors/defendants
  7                       Q.   I don't know. Was she doing                       7              were no longer residents in those
  8               the activities of an attorney?                                 8              apartments.
  9                       A.   No, she would not make court                      9                   Q.    And that could only happen if
 10               appearance or sign papers.                                    10              you have a possessory judgement?
 11                       Q.   She would make decisions about                   11                   A.    Unless they left voluntarily,
 12               what an attorney would make decisions on                      12              you cannot evict someone without a
 13               about whether or not to file a collection                     13              possessory judgment, yes.
 14               lawsuit or expedite judgment?                                 14                   Q.    You are saying all the cases
 15                       A.   She would determine whether a                    15              you got at that point the tenant had
 16               judgement exists or not, yes.                                 16              already moved out?
 17                       Q.   But you didn't direct her to                     17                   A.    Either moved out or was
 18               determine whether there was a possessory                      18              evicted, yes.
 19               order or a money judgement in a                               19                   Q.    So when you got an account that
 20               landlord-tenant action; is that correct?                      20              was after landlord-tenant action was
 21                       A.   Possessory orders were                           21              completed, you would not take any steps to
 22               generally, actually I can't right now, I                      22              determine whether there was only a
 23               will reserve the possibility were relevant                    23              possessory judgement or if there was also a
 24               to what we did or what we do because all                      24              money judgment; is that true?
 25               our cases were after folks moved out or                       25                   A.    The inquiry, again, I will
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  1                                G. KAVULICH                                   1                              G. KAVULICH
  2               were evicted.                                                  2              reserve for a metaphysical possibility, but
  3                       Q.   Let me make sure I understand.                    3              I cannot imagine where a possessory
  4               A landlord-tenant action would be filed and                    4              judgment would be relevant. We would look
  5               one reason would be to collect rent;                           5              to see if there was a money judgement, but
  6               correct?                                                       6              not a possessory judgement.
  7                       A.   Yes.                                              7                   Q.    But it is not uncommon; correct
  8                       Q.   And another reason would be to                    8              me if I am wrong, it is not uncommon for a
  9               get a possessory judgement so that you                         9              multiple defendant landlord-tenant action
 10               could begin the process of evicting that                      10              to have a money judgment against one of the
 11               tenant from the property; correct?                            11              tenants and not a money against the other
 12                       A.   Yes, but to make clear, my firm                  12              tenant, because the other tenant didn't
 13               nor I do this work, nor did we do this work                   13              show up in court?
 14               in 2008.                                                      14                   A.    Now that is common.
 15                       Q.   You didn't do landlord-tenant                    15                   Q.    In 2008 was that common?
 16               work?                                                         16                   A.    To my knowledge, no, because
 17                       A.   Correct.                                         17              they, whatever or whenever the exact
 18                       Q.   At Gutman Mintz you appeared at                  18              delineation was, I don't know whether they
 19               hearing on landlord-tenant cases filed by                     19              changed the law or maybe now they started
 20               Gutman Mintz; correct?                                        20              paying attention, I am speaking about the
 21                       A.   Yes.                                             21              clerks in the court, now they started
 22                       Q.   You are saying you don't know                    22              paying attention to it. Because back then
 23               so --                                                         23              you could have a money judgment against two
 24                       A.   My simple point is possessory                    24              tenants although only one appeared, a money
 25               judgments don't come into collections,                        25              judgement. Now that, I haven't seen that
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  1                               G. KAVULICH                                    1                                G. KAVULICH
  2               in a few years.                                                2                   Q.     But based on your own office's
  3                      Q.   Let me ask you this: When you                      3              records in this case, is there any evidence
  4               got the account for Miss Potter and Mr.                        4              that your office had possession of the
  5               Morales since it was after a                                   5              judgements in the landlord-tenant case
  6               landlord-tenant action, did your firm                          6              against Miss Potter or Mr. Morales, either
  7               assume that there was a judgement against                      7              possessory judgement or money judgement?
  8               both of the debtors?                                           8                   A.     I just told you usually we
  9                      A.   No, we would not assume, no.                       9              require, if the client does not provide it
 10                      Q.   You would check to see if there                   10              to us, we look for it in court. What I
 11               was an actual judgment against each of                        11              believe, I just answered this, but what I
 12               them?                                                         12              believe happened is she misread what we
 13                      A.   Correct.                                          13              had. Do I know for sure? No.
 14                      Q.   Would you request, obtain a                       14                   Q.     You would generally have
 15               copy of the physical judgement against each                   15              someone from your office check the court's
 16               of the debtors, would you request that from                   16              website or would you have your staff go to
 17               your client when you got the account?                         17              the physical courthouse and check the
 18                      A.   This particular client it would                   18              computers there?
 19               be in there or there would be a notation in                   19                   A.     E-courts is useless. E-courts
 20               there that there was.                                         20              isn't applicable when it is a housing court
 21                      Q.   My question is more general.                      21              index number. Once the case is over you
 22               Do you insist on seeing a copy of the money                   22              can't find them. So we use to send a guy
 23               judgement against each of the defendants                      23              down to various housing courts and look in
 24               when you get a case post landlord-tenant?                     24              their housing court system computer.
 25                      A.   Yes, we want to see it, sure.                     25                   Q.     But your staff generally would
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  1                               G. KAVULICH                                    1                                G. KAVULICH
  2                      Q.   Did you insist on getting a                        2              not pull the actual file, they would look
  3               physical copy of that money judgment prior                     3              at what the computer screen said?
  4               to you attempting to collect on the debt?                      4                   A.     When the files were available
  5                      A.   I assuming, first of all, I                        5              they would get copies, sure.
  6               don't remember 2008. I am assuming                             6                   Q.     When was the landlord-tenant
  7               Mercedes would have reached out or looked                      7              action completed as to Miss Potter and Mr.
  8               at whatever was there, if she thought there                    8              Morales?
  9               was one there.                                                 9                   A.     In 2008, I believe.
 10                      Q.   My question is broader: Did                       10                   Q.     Why do you think that?
 11               your office require the client to provide                     11                   A.     Because that's when they
 12               you a copy of a money judgement for                           12              vacated.
 13               accounts that were given to you after a                       13                   Q.     That's when the vacated the
 14               landlord-tenant action?                                       14              premises?
 15                      A.   No, because sometimes we would                    15                   A.     Yes.
 16               go look. If the information wasn't in the                     16                   Q.     How do you know that?
 17               file, we would send someone to housing                        17                   A.     By my notes, the system notes.
 18               court and check in the housing court                          18                   Q.     Do you know when your office
 19               computer.                                                     19              obtained, if ever, a copy of the money
 20                      Q.   Would the housing court, do you                   20              judgment against Miss Potter?
 21               know if that happened in this case?                           21                   A.     No.
 22                      A.   I don't think so. I believe                       22                   Q.     Is there anything in your
 23               what happened, I am not sure, but I believe                   23              records that would indicate when that was
 24               what happened was Mercedes just misread the                   24              received?
 25               documents.                                                    25                   A.     When that was received?
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  1                              G. KAVULICH                                1                               G. KAVULICH
  2                    Q.    The money judgment against Miss                2              it, but I subsequently found out that the
  3               Potter?                                                   3              guy that used to scan our stuff used to
  4                    A.    Apparently when we opened the                  4              intentionally scan, after I fired him, used
  5               case, when the case was opened.                           5              to intentionally scan one person's
  6                    Q.    What makes you say that?                       6              documents into another person's file. He
  7                    A.    Because it says prior judgment.                7              is since dead. But I can't say nobody
  8                    Q.    Where does it say that?                        8              would take it out and intentionally destroy
  9                    A.    Bottom of page three.                          9              it. But that being said, who knows what
 10                    Q.    On March 13, 2008; correct?                   10              file it is in or if it is in a file or
 11                    A.    Correct.                                      11              maybe it just fell out, sixty pages or a
 12                    Q.    You don't know from that entry                12              hundred pages we took and we copied from
 13               whether you had possession of the money                  13              the client file and it got lost. But my
 14               judgement against Miss Potter, do you know?              14              notes, my contemporaneous notes at the time
 15                    A.    No, I do not know.                            15              I picked up the file indicates that we did
 16                    Q.    So there is no evidence in your               16              have it by handwriting saying FJ attached.
 17               own records that indicate when, if ever,                 17              FJ in my lingo means money judgment. I
 18               you had a copy of the money judgment                     18              have no need to know about a possessor
 19               against Miss Potter; correct?                            19              judgement for our purposes.
 20                    A.    No, in the records there may be               20                    Q.     A final judgement attached to
 21               but I don't have them all in front of me.                21              what?
 22                    Q.    Well, I can show you the                      22                    A.     To the rest of the documents.
 23               documents. Is there anything in your                     23                    Q.     There is that notation but you
 24               documents production that show if your                   24              don't have possession of the document?
 25               office ever received the money judgment                  25                    A.     It is not included in this pile
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  1                              G. KAVULICH                                1                               G. KAVULICH
  2               against Miss Potter?                                      2              of papers; correct.
  3                    A.    Yes, it looks like when I                      3                    Q.     Any documents regarding the
  4               picked up the case there was one because it               4              account the judgement Miss Potter, Mr.
  5               says "FJ attached."                                       5              Morales you would have provided in your
  6                    Q.    FJ means?                                      6              possession, you would have provided to your
  7                    A.    Final judgment.                                7              attorney?
  8                    Q.    Final judgment could be a                      8                    A.     Yes.
  9               possessory judgement?                                     9                    Q.     And your attorney would have
 10                    A.    Not in my lingo. I don't see                  10              provided them to my office in this case?
 11               the judgement. I see the stipulation from                11                    A.     Yes, I believe that, yes.
 12               the court, but I didn't see the judgement.               12                    Q.     To your knowledge, there isn't
 13                    Q.    So you are saying your office                 13              any documents being withheld?
 14               never had possession of a money judgment                 14                    A.     No, if I had it, I would show
 15               against Miss Potter?                                     15              it to you.
 16                    A.    No, now I am definitely not                   16                    Q.     If you had a monetary judgement
 17               saying that. Now, I am saying we did.                    17              against Miss Potter in your custody and
 18                    Q.    Correct me if I am wrong. Do                  18              control, it would be in your document
 19               you have a copy of the money judgment                    19              production in this case?
 20               against Miss Potter in your document                     20                    A.     Correct.
 21               production?                                              21                           MR. KESHAVARZ: Please mark
 22                    A.    In here, no, but we did at some               22                    this as Plaintiff's 5 for
 23               point. At least when we opened the case.                 23                    identification.
 24                    Q.    Would it have been destroyed?                 24                           (Whereupon, the aforementioned
 25                    A.    I can't say what happened to                  25                    document was marked as Plaintiff's
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  1                                G. KAVULICH                                   1                              G. KAVULICH
  2                      Exhibit 5 for identification as of                      2              was not paid in full. I think it is not
  3                      this date by the Reporter.)                             3              paid in full.
  4                      Q.   I am showing you what has been                     4                   Q.    How much is left?
  5               marked as Plaintiff's 5. Can you identify                      5                   A.    I don't know; you have to ask
  6               what that document is?                                         6              the marshal.
  7                      A.   It is a summons, complaint.                        7                   Q.    You collect on a debt and you
  8                      Q.   Did your office file a summons                     8              don't know how much is owed on that debt?
  9               and complaint against Miss Potter and Mr.                      9                   A.    No, you are mischaracterizing
 10               Morales on or about July 1, 2008?                             10              what I said. I said, like you mentioned
 11                      A.   It appears so.                                    11              before, I don't remember what we were
 12                      Q.   It is a summons and complaint                     12              referring to, but don't trust your math,
 13               to collect on rent to be owed by them?                        13              was what you said. I am not good at math
 14                      A.   Correct. Now it is kind of                        14              either. So I am not going to tell you they
 15               screwy, right? See, because we                                15              owe $5,226.22 as of yesterday. I am saying
 16               discontinued this -- I didn't remember                        16              that a non-math expert, fairly intelligent
 17               this. After looking at this -- I don't                        17              guy, not the brightest guy in the bunch,
 18               remember, I don't remember actually which                     18              but fairly intelligent, can look at a
 19               one, I saw it said something about a                          19              judgment from 2007 that's been paid off
 20               discontinuance or something. We should                        20              slowly, that there is a good likelihood
 21               have kept this case going. We should have                     21              there is still interest owed, that is what
 22               kept this case going against James Morales                    22              I am saying.
 23               because he owed the money. But we                             23                   Q.    Let me ask you a specific
 24               discontinued it because of the judgment.                      24              question. You have in front of you all of
 25               We discontinued it because somebody said                      25              your documents in your possession custody
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  1                                G. KAVULICH                                   1                              G. KAVULICH
  2               there was a judgment against both people.                      2              and control against Morales, Miss Potter,
  3               We screwed ourselves and our client because                    3              the accounts of the judgement, you have
  4               your client got away with owing the money.                     4              that in front of you right now; correct?
  5                      Q.   You collected the full amount                      5                   A.    Correct.
  6               of the money from Miss Potter?                                 6                   Q.    Is there anything in your
  7                      A.   I don't think we collected the                     7              records that indicates to you how much, if
  8               full amount. I guess we did ultimately.                        8              anything, is owed on the judgement?
  9                      Q.   You are looking at Plaintiff's                     9                   A.    There is still interest owed.
 10               2; correct?                                                   10              Can I tell you exactly how much? No, I
 11                      A.   Yes.                                              11              can't. Once we do a property execution or
 12                      Q.   You are looking at?                               12              an income execution we rely on the marshal
 13                      A.   I am looking at Plaintiff's 4.                    13              to determine because poundage is also
 14                      Q.   What about Plaintiff's 4                          14              involved once an account goes to a marshal,
 15               demonstrates to you that the full debt to                     15              and I rely on what their calculations are.
 16               Rosewall, by Miss Potter and/or Mr. Morales                   16                   Q.    I am not talking about
 17               apparently was entirely satisfied?                            17              poundage. I am talking about the interest.
 18                      A.   I don't know if it is entirely                    18                   A.    But poundage affects the
 19               satisfied because I see the judgement is                      19              interest, poundage affects the debt; right.
 20               for $4,352.74. So the amount collected                        20                   Q.    When you get an account to
 21               $4,505.47.                                                    21              collect on a judgement, do you ever put on
 22                      Q.   So you collected more than the                    22              a document that is sent to a consumer what
 23               amount of the judgement?                                      23              the current balance is on the judgement?
 24                      A.   I don't know that all of the                      24                   A.    No. When we get the case, we
 25               interest that would have accrued on this                      25              say the judgement plus interest from when
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  1                                 G. KAVULICH                                1                               G. KAVULICH
  2               it was due.                                                  2                   A.      Well, hold on.
  3                    Q.       You noted before that there is                 3                   Q.      Let me look at it on my screen
  4               a tickler that comes up on all five                          4              while you look at it on the document. Let
  5               thousand judgments your office has to                        5              me catch up with you, please. So look at
  6               determine what steps to take about                           6              Exhibit 1, the information subpoena and
  7               executing on that judgment; correct?                         7              restraining notice issued by your office
  8                    A.       No, it just tells us that it is                8              and signed on March 18, 2015. What does
  9               time to execute on the judgement.                            9              this document say the balance due on the
 10                    Q.       So this pops up, and this                     10              judgment is?
 11               non-attorney in Laos, Collin, now in Laos,                  11                   A.      It says how much, it says
 12               looks at the screen and determines whether                  12              $4,352.74 together with interest thereon
 13               to issue a post-judgment enforcement                        13              from the date of entry of the judgement,
 14               mechanism; correct?                                         14              remains due and unpaid.
 15                    A.       Yes.                                          15                   Q.      This is, in your view says that
 16                    Q.       He determines that without                    16              there's --
 17               noting what the balance is due on that                      17                   A.      That this was still $4,352.74.
 18               account; correct?                                           18                   Q.      Left on the judgement?
 19                    A.       No, that is not true.                         19                   A.      Correct.
 20                    Q.       So this judgment account                      20                   Q.      That was not true?
 21               against Miss Potter pops up on your                         21                   A.      Correct.
 22               computer screen, is there any way to                        22                   Q.      Your office did not know what
 23               determine how much is due on the judgement,                 23              the current balance was actually due on
 24               if any?                                                     24              March 18, 2015 when you signed this
 25                    A.       If you sat down, did the                      25              document?
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  1                                 G. KAVULICH                                1                               G. KAVULICH
  2               calculations but additionally we also know                   2                   A.      They neglected to ask the
  3               whether or not there is money due or not by                  3              marshal, yes.
  4               how the marshal returns the file to us. If                   4                   Q.      They neglected to ask the
  5               we were doing an income execution, for                       5              marshal how much was due on the judgement?
  6               instance, the marshal gets the money from                    6                   A.      Correct because they had been
  7               the employer, right or from the debtor, I                    7              collecting on the income execution on Miss
  8               guess, for the first stage and they will                     8              Potter.
  9               tell us whether or not it is satisfied.                      9                   Q.      Well, sometimes your office
 10               And sometimes it will come back that the                    10              uses more than one marshal to collect on a
 11               person became separated from their                          11              judgement; correct?
 12               employment and they could not pursue the                    12                   A.      If we did, it was a mistake.
 13               garnishment anymore and they will say it is                 13              Because we are supposed to, and I can't
 14               partially satisfied.                                        14              point to, I can't think of any. But if we
 15                    Q.       Let me direct your attention to               15              are using one marshal, if you have two
 16               Exhibit 1, this is the information subpoena                 16              debtors, you want to use the same marshal.
 17               and a restraining notice, this document, if                 17                   Q.      Why?
 18               you can read from where it says at the                      18                   A.      So you can keep track of things
 19               bottom of the first paragraph where it says                 19              like this.
 20               "in total?"                                                 20                   Q.      Does your office --
 21                    A.       Before "in total?"                            21                   A.      We would never purposely send a
 22                    Q.       From there to the end?                        22              judgement, an execution, sorry, to a
 23                    A.       Unlike the property execution,                23              marshal, using this instance, purposely
 24               I think that verbiage is more correct.                      24              send an execution on James Morales to
 25                    Q.       Well, different.                              25              marshal A and send an execution on Miss
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  1                                 G. KAVULICH                               1                                G. KAVULICH
  2               Potter to marshal B, it does not make any                   2              Bigel. Then I was afraid of having all my
  3               sense.                                                      3              eggs in one basket. Not they did anything
  4                      Q.   Why would you not do that?                      4              bad, they were very nice people. But by
  5                      A.   Because they can keep track of                  5              that time, I guess, my non-clinical
  6               the numbers.                                                6              paranoia had worn off and Ronnie was
  7                      Q.   If you were to send the account                 7              reaching out to me, he wanted work. I had
  8               from Miss Potter to one marshal to collect                  8              a relationship with him. So he gets a
  9               and you sent the account to a different                     9              small, he does not get at much as marshal
 10               marshal to collect, the amounts each                       10              Bigel.
 11               marshal thought were due on the judgment or                11                      Q.    When you say Ronnie?
 12               the punitive judgment would be                             12                      A.    Ronald Moses.
 13               inconsistent; is that you are saying?                      13                      Q.    When did you start using
 14                      A.   I am saying there is a greater                 14              marshal Bigel?
 15               chance of that happening. No, I am not                     15                      A.    2009 maybe or 2010. I don't
 16               saying, again, the amount of the judgment                  16              remember exactly.
 17               goes down. Use this, for example, the                      17                      Q.    For a period of time you would
 18               amount of the judgment on Potter, the                      18              use only marshal Bigel?
 19               amount of monies received from Potter pays                 19                      A.    Well, other than the cases that
 20               down the judgement. If there was a                         20              we had already placed with marshal
 21               judgment against Mr. Morales and say we                    21              Bienstock.
 22               were garnishing him, it would be easier to                 22                      Q.    For what period of time did you
 23               keep track of that to have it with the same                23              use only marshal Bienstock?
 24               person.                                                    24                      A.    Well, from like 2007, the end
 25                      Q.   Putting aside whether there was                25              of 2007 until probably 2009. We probably
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  1                                 G. KAVULICH                               1                                G. KAVULICH
  2               one or two judgment debtors or punitive                     2              started using Bigel in 2009, I would think.
  3               judgment debtors on an index number,                        3                      Q.    So if there are any accounts on
  4               generally does your office use more than                    4              this punitive judgment, this index number
  5               one marshal?                                                5              that would be with marshal Bienstock?
  6                      A.   We use two marshals.                            6                      A.    Depending on when we executed
  7                      Q.   Which two?                                      7              on it.
  8                      A.   Steven Bigel and Ronald Moses.                  8                      Q.    A couple of minutes ago you
  9                      Q.   Would there be a particular                     9              said, if I understand correctly, marshal
 10               reason why you would send a punitive                       10              Moses, worked for Gutman & Mintz, what did
 11               judgment account to one marshal as opposed                 11              you mean by that?
 12               to the other?                                              12                      A.    He did their work. He did
 13                      A.   No.                                            13              their income executions and property
 14                      Q.   If it is an old judgement.                     14              executions as of when I left.
 15                      A.   No, I mean, even if it an old                  15                      Q.    As of the date when you left in
 16               judgment, when I first left Gutman & Mintz,                16              about 2007, Gutman Mintz used marshal Moses
 17               Ronald Moses was the marshal there. And                    17              for all of their post-judgment collection
 18               because of how that all happened when I                    18              activities?
 19               left, I didn't know if I could trust him.                  19                      A.    Yes, most of it, yes. If it
 20               And I think I was paranoid about that. Not                 20              was upstate someone else.
 21               paranoid clinically, but concerned about                   21                      Q.    Upstate they would use someone
 22               that. So I tried using, I don't know                       22              else?
 23               another marshal in Queens, Beinstock. And                  23                      A.    Yes.
 24               I just didn't like the way they treated my                 24                      Q.    But most of their work was in
 25               staff. Then we started using marshal                       25              New York City?
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  1                               G. KAVULICH                                 1                               G. KAVULICH
  2                      A.   Yes.                                            2              the property execution, we started
  3                      Q.   So you were afraid maybe                        3              collecting in 2009.
  4               initially that maybe marshal Moses would                    4                   Q.      Let me go back to Exhibit 1
  5               what?                                                       5              again for a second, the information
  6                      A.   Give them information. You                      6              subpoena with bank restraint. So the basic
  7               know, the wounds were raw. They sued me.                    7              template that's Exhibit 1, most of that
  8               I didn't have a lot of money. Times were                    8              test is because the statute requires this
  9               tight. I had worked there for a long time.                  9              language; right?
 10               I mean on a business level, I sort of                      10                   A.      Yes.
 11               understood what they did, but personally I                 11                   Q.      Is the template for Exhibit 1
 12               was friends with a few of them and I had                   12              the same template that you have used since
 13               been there with them through hard times to                 13              you opened your office?
 14               get treated like that.                                     14                   A.      Well, with some changes.
 15                      Q.   Is there anything in your                      15                   Q.      Some changes in what way?
 16               system at your office that would make sure                 16                   A.      I know when we first opened,
 17               that a judgment account, even with multiple                17              that there wasn't this language about
 18               debtors, would stay with one marshal the                   18              restraining the exempt monies, don't
 19               entire time for collections?                               19              restrain if there are exempt monies.
 20                      A.   Would the system, like, in                     20                   Q.      You are looking at the bottom
 21               other words, when we get a dispute letter,                 21              of the page?
 22               we click off the thing, we went over this                  22                   A.      Yes. Also on the bottom of the
 23               last time, it will prevent the summons from                23              page response only required if judgment
 24               going. Is that what you mean?                              24              debtors have ever had a relationship with
 25                      Q.   Plaintiff's 1 is that the index                25              your institution.
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  1                               G. KAVULICH                                 1                               G. KAVULICH
  2               in the landlord-tenant action or the index                  2                   Q.      That is also on the bottom of
  3               in the civil court action?                                  3              Exhibit 1?
  4                      A.   The housing court.                              4                   A.      Yes.
  5                      Q.   So the index, the money                         5                   Q.      Other than those two changes?
  6               judgment entered against Miss Potter was in                 6                   A.      I don't recall, but I don't
  7               the landlord index?                                         7              think it has been changed much.
  8                      A.   Yes.                                            8                   Q.      So the question is clear. To
  9                      Q.   So there was one judgement                      9              your recollection, you don't think there
 10               index number for both Potter and Morales?                  10              are any changes in Exhibit 1, in the
 11                      A.   There was one housing court                    11              template that is Exhibit 1 from the time
 12               case against, brought against them, yes.                   12              you opened your office until now; is that a
 13               There was a housing court case brought                     13              fair statement?
 14               again both persons under one index number,                 14                   A.      I don't think so.
 15               yes.                                                       15                   Q.      You don't think is it a fair
 16                      Q.   So in this case, you used one                  16              statement?
 17               marshal to collect against Miss Potter and                 17                   A.      I don't think we made any
 18               a different marshal to try to collect                      18              changes.
 19               against Mr. Morales; is that true?                         19                   Q.      You are saying, and correct me
 20                      A.   No. It doesn't say on here.                    20              if I am wrong, you rely on the marshal to
 21                      Q.   In that Exhibit 4?                             21              tell your office the balance due on a
 22                      A.   Yes. I am assuming it was                      22              judgement; correct?
 23               Bigel.                                                     23                   A.      When there an is execution
 24                      Q.   Why do you assume that?                        24              involved, yes.
 25                      A.   Because we used them again for                 25                   Q.      By an execution, you mean a
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  1                            G. KAVULICH                             1                            G. KAVULICH
  2               bank restraint or a wage garnishment?                2              correct?
  3                     A. Or a property execution.                    3                   A.    It didn't correct.
  4                     Q. So every time you would use an              4                   Q.    The form you use for the
  5               information subpoena with a bank restraint           5              restraining notice from 2007 until the
  6               like Exhibit 1, you would only put the               6              present time when it says that an amount is
  7               amount of the judgement as the amount                7              due and unpaid it only uses the judgement
  8               claimed to be due; correct?                          8              amount; correct?
  9                     A. Less the payments, the system               9                   A. It did in 2015, yes.
 10               is supposed to pick that up.                        10                   Q. And it did from 2007 until the
 11                     Q. Let me ask you this: Let's                 11              present; correct?
 12               look at Exhibit 1. Let me ask you a                 12                   A. No, now it is in the process of
 13               specific sentence. It says a judgement              13              being changed.
 14               which was entered on March 13, 2008, and it         14                   Q. After this lawsuit?
 15               goes on to identify the parties. It says            15                   A. It started around the same time
 16               that judgement of March 2013 in the total           16              but not because of this.
 17               amount of an amount of money, am I reading          17                   Q. So from 2007 until the about
 18               that correctly?                                     18              the time of this FDPCA lawsuit when you
 19                     A. Yes.                                       19              sent out a bank restraint knowing that the
 20                     Q. Of which that same amount of               20              bank would send that to the consumer, when
 21               money which is $4,352.74, that is the               21              it says in the amount that remains due and
 22               amount that remains due and unpaid?                 22              unpaid, that amount is always the amount of
 23                     A. It should be yes, and, it                  23              the judgement itself; correct?
 24               didn't here; correct.                               24                   A. Say that again.
 25                     Q. It is the amount due and unpaid            25                   Q. Before you changed your policy,
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  1                            G. KAVULICH                             1                            G. KAVULICH
  2               as of the date of your signature March 18,           2              I am talking about the period before you
  3               2015?                                                3              started changing your policy after this
  4                     A. Correct.                                    4              lawsuit, from when you opened your office
  5                     Q. When you issue the bank                     5              in 2007 up until the, around the time the
  6               restraint, you fill that out and you send            6              FDPCA lawsuit was filed, when you filled in
  7               it to the marshal; correct?                          7              the restraining notice amount and it says
  8                     A. The property execution, yes.                8              the amount that remains due and unpaid, you
  9                     Q. And the information restraint,              9              would always fill in the amount of the
 10               who do you sent that to?                            10              judgment; correct?
 11                     A. To the bank.                               11                    A. Yes, the computer did. We
 12                     Q. Exhibit 1 goes to the bank?                12              didn't fill it in.
 13                     A. Yes.                                       13                    Q. The computer filled it in?
 14                     Q. And Exhibit 1 gets forwarded               14                    A. It is not like somebody sat
 15               from the bank to the consumer?                      15              there and typed in the numbers.
 16                     A. Correct.                                   16                    Q. Because the numbers, for all
 17                     Q. As of the date, there the                  17              these documents, the bank restraints and so
 18               restraint is sent your communication with           18              forth, they are all automatically spit out
 19               the consumer says that the amount that is           19              by the computer?
 20               due and unpaid, is actually the amount of           20                    A. Yes.
 21               the judgment itself?                                21                    Q. So for the restraints, when it
 22                     A. Yes.                                       22              is, I just want to be clear, I apologize if
 23                     Q. So the bank restraints that you            23              you answered this, I am not sure this is
 24               have the bank send to the consumer, that            24              the question, for 2007 until the day of the
 25               doesn't credit any payments; is that                25              suit, when the restraining notice was sent
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  1                                G. KAVULICH                                1                              G. KAVULICH
  2               out when they say the balance remains due                   2              would be reflected where it says an amount
  3               and unpaid, you would only use the judgment                 3              remains due and unpaid?
  4               amount to fill it in?                                       4                   A.    We had asked our IT people, but
  5                    A.    It is a little bit before the                    5              they said it was really difficult and it
  6               suit but, yes.                                              6              would have been more expensive.
  7                    Q.    So the amount due and unpaid                     7                   Q.    How much more expensive?
  8               when you sent out the restraining notice,                   8                   A.    I don't remember, but there
  9               your office does not, in fact, know if                      9              wasn't much money left. So it didn't
 10               there anything that is due and unpaid for                  10              matter as far as budgeting for IT.
 11               judgment; is that true?                                    11                   Q.    What was your budget for IT?
 12                    A.    No, because if there are no                     12                   A.    What we could afford.
 13               monies due, the file would be closed.                      13                   Q.    Roughly speaking.
 14                    Q.    Except here?                                    14                   A.    Look, I am a small operation.
 15                    A.    No, that is not true. There                     15              I don't have work charts and things like
 16               was still money owed by Miss Potter. They                  16              that. It was, can we print the summons.
 17               were mistakenly believed by human error to                 17              Can we do this and that.
 18               be owned Mr. Morales.                                      18                   Q.    I am trying to figure out why
 19                    Q.    Let me rephrase the question.                   19              it would be difficult to calculate that?
 20               When the computer spits out the amounts                    20                   A.    I agree with you. That was my
 21               remaining, that remains due and unpaid, it                 21              question. I don't know. I got "because of
 22               would give the amount of the judgement and                 22              this and that." I had the same question,
 23               it would not credit any payments that were                 23              but then again I am not a computer person.
 24               made on the judgement?                                     24              I am not a math person. We don't collect
 25                    A.    Correct.                                        25              more than what is owed so.
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  1                                G. KAVULICH                                1                              G. KAVULICH
  2                    Q.    Why not?                                         2                   Q.    But you ask for more than what
  3                    A.    Oversight.                                       3              is owed if there is a payment, you ask for
  4                    Q.    Because when you issued the                      4              more than that what is owed?
  5               bank restraints your office, in fact, does                  5                   A.    This document says, for
  6               not know the amount that is due on the                      6              instance, when we talk to people and we are
  7               judgment on the date that you use issue the                 7              looking at a computer screen and we see
  8               bank restraint; is that true?                               8              payments, we don't ask for more than that.
  9                    A.    Depending on the circumstances,                  9                   Q.    So a consumer calls and you
 10               it could be true.                                          10              have been garnishing an amount on their
 11                    Q.    Generally that's true; correct?                 11              wages, and taking from their bank account,
 12                    A.    Again, depending on the                         12              and they are saying I feel like I have been
 13               circumstances, it could be true. Sometimes                 13              paying forever, how much do I owe?
 14               it is not. If there were never any monies                  14                   A.    It happened to me yesterday.
 15               corrected, then it would be the judgment                   15                   Q.    You say what?
 16               amount plus the interest.                                  16                   A.    I say that I need to check with
 17                    Q.    So if any amount was actually                   17              the marshal. I will call you back.
 18               collected on the judgement, those payments                 18              Because usually they don't call out of the
 19               would not be reflected in the amount                       19              blue. They call because there is some
 20               claimed to be due for the restraining                      20              other reason involved. Yesterday the lady
 21               notices, such as Exhibit 1 you sent to the                 21              was being garnished by us twice. I guess,
 22               consumer; correct?                                         22              she was getting paid biweekly, and it was
 23                    A.    Correct.                                        23              too much for her. So she started off with
 24                    Q.    Why did you not set up your                     24              what you just brought us and then the next
 25               system so that the current balance due                     25              thing was, can I just pay once, you know,
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  1                               G. KAVULICH                                  1                               G. KAVULICH
  2               can they garnish once.                                       2              minor tweaking; is that right?
  3                      Q.   So when the information, so if                   3                    A.   I would not think so.
  4               when you sent the bank restraint to the                      4                    Q.   You would not think there were
  5               bank and it forwards it to the consumer,                     5              substantive changes?
  6               the form letters that the bank sends or do                   6                    A.   I don't think so.
  7               you know says contact the judgment                           7                    Q.   So then how do you put in,
  8               creditor's attorney to figure out what was                   8              there is a date remains unpaid in the
  9               going on, that is one of the things it says                  9              amount of $4,352.74, that's an amount that
 10               in the form letter?                                         10              is greater than the judgement for this
 11                      A.   You know, I don't know if it                    11              index number; correct?
 12               was Monday or Tuesday was the first time I                  12                    A.   Yes, $4,352.74, that's right.
 13               had ever seen what they actually, I know                    13                    Q.   Where it says with zero dollar
 14               that they convey this information, how they                 14              interest, we talked about that, I am not
 15               convey it, I never knew. But, again, you                    15              trying to restate all that, with zero
 16               know, I don't even remember, it sort of                     16              dollars interest thereon, where does that
 17               looked like this but it wasn't --                           17              number come from, that gets put before the
 18                      Q.   Exhibit 2?                                      18              word interest?
 19                      A.   Yes, it wasn't an execution.                    19                    A.   That is supposed to be the
 20               But the layout, the layout of the page, but                 20              balance.
 21               that was the first time I have ever seen                    21                    Q.   But correct me if I am wrong,
 22               what they send to the judgment debtor. So                   22              your office does not know, when it
 23               I don't know exactly.                                       23              generates an execution with notice to
 24                      Q.   So what you did see was the                     24              garnishee, what the balance on the
 25               cover letter to the judgment debtor that                    25              judgement account is?
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  1                               G. KAVULICH                                  1                               G. KAVULICH
  2               says in one part, if you have any questions                  2                    A.   In certain circumstances that
  3               contact the attorney for the judgment                        3              is true. Look, how many cases have we
  4               debtor; is that true or something along                      4              collected on? A miniscule number
  5               those lines?                                                 5              percentage-wise.
  6                      A.   It probably did.                                 6                    Q.   That you actually collect money
  7                      Q.   And that looked like a form                      7              on?
  8               letter that the bank would send out?                         8                    A.   Right.
  9                      A.   I would think so. I don't                        9                    Q.   As opposed to sending them
 10               know.                                                       10              executions and so forth?
 11                      Q.   Let's go back to Exhibit 2.                     11                    A.   I am saying in general in the
 12               The information that is Exhibit 2, the                      12              debt collection business, it is a small
 13               execution with notice to garnishee; that is                 13              percentage of accounts that you collect on.
 14               a document that is generated from your                      14                    Q.   What is a small percentage?
 15               office; correct?                                            15                    A.   We collect on a small
 16                      A.   Yes.                                            16              percentage of cases, a very small
 17                      Q.   It is a document that is signed                 17              percentage. So most of them you are
 18               by you?                                                     18              actually right, right.
 19                      A.   Yes.                                            19                    Q.   Most of them I am actually
 20                      Q.   This is the same template you                   20              right what?
 21               have used from 2007 until the present; is                   21                    A.   Most of them you are right with
 22               that correct?                                               22              what the balance is.
 23                      A.   Yes, probably with some minor                   23                    Q.   Because most of them you don't
 24               tweaks.                                                     24              actually collect anything?
 25                      Q.   No substantive tweaking, just                   25                    A.   Yes.
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  1                                G. KAVULICH                                1                             G. KAVULICH
  2                          MR. KESHAVARZ: Let take a                        2                   A.    Well, it totals the payments
  3                    break.                                                 3              you have to do subtraction.
  4                          (Whereupon, a short recess was                   4                   Q.    So your software shows the
  5                    taken.)                                                5              amount of the judgements and it shows the
  6                    Q.    So we started talking before,                    6              amount of the payments?
  7               and I am not trying to rehash an argument,                  7                   A.    Correct.
  8               but where it says zero interest thereon is                  8                   Q.    Your software doesn't show the
  9               due, you believe that is the total balance                  9              amount due. You would have to manually
 10               and not just the interest accruing over                    10              find that out? You would have to manually
 11               from date of the judgment?                                 11              subtract that; correct?
 12                    A.    Correct.                                        12                   A.    Well, we actually, if somebody
 13                    Q.    Where does that zero dollar                     13              calls, we will just subtract the amount, if
 14               come from, where from your computer system?                14              somebody calls us, I am thrilled they are
 15                    A.    It should not say zero.                         15              calling us so we don't even account for the
 16                    Q.    What should it say?                             16              interest. Like just using this, for
 17                    A.    It shouldn't say zero.                          17              example, we say you owe $4,352.74.
 18                    Q.    What should it say?                             18                   Q.    And where would you get that
 19                    A.    It should account for the                       19              number to tell the consumer that?
 20               payments that have been made against that                  20                   A.    From here, looking at the
 21               judgement.                                                 21              screen, Exhibit 4.
 22                    Q.    But correct me if I am wrong                    22                   Q.    But the screen, tell me from
 23               Exhibit 2 is generated by your office;                     23              looking at Exhibit 4 what the balance on
 24               correct?                                                   24              the judgment account is separate from the
 25                    A.    Yes.                                            25              interest, if you know?
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  1                                G. KAVULICH                                1                             G. KAVULICH
  2                    Q.    And it has a specific date?                      2                   A.    Well, on this we collected a
  3                    A.    Yes.                                             3              hundred and fifty-three dollars and change
  4                    Q.    Are you saying that where it                     4              more than the judgment so this would be a
  5               says zero, it should reflect the current                    5              little bit different.
  6               balance on the date you signed the                          6                   Q.    If the consumer called, Miss
  7               execution that credits all payments on that                 7              Potter or Mr. Morales called you, you would
  8               judge?                                                      8              tell them more has been paid than the face
  9                    A.    Yes, and then say plus                           9              value of the judgement, but you don't know
 10               interest, yes.                                             10              how much?
 11                    Q.    But this is what I am trying to                 11                   A.    Right, we will check with the
 12               get at, to get clarity on, your office does                12              marshal and call you back or e-mail you if
 13               not know what the balance on the judgment                  13              you want.
 14               account is, correct?                                       14                   Q.    Does your system differentiate
 15                    A.    We know how much was paid. We                   15              between payments that are paid by the
 16               don't know what the interest, what the                     16              judgment debtor Miss Potter and the
 17               interest added to that would be, yes.                      17              punitive judgment debtor Mr. Morales? Does
 18                    Q.    So putting aside the interest                   18              your system tell you we got this much from
 19               for a second. Does your system tell you                    19              this person and this much from this person?
 20               what the balance is due on the judgment,                   20                   A.    Yes, it will show, I am
 21               putting aside interest payments?                           21              referring to Exhibit 4, this says Potter.
 22                    A.    You have to do the math. We                     22              This would be Potter. It does say Potter.
 23               have to manually do the math.                              23              It will have income execution with the
 24                    Q.    You have to add up all the                      24              judgment debtor's name like it does here.
 25               payments?                                                  25              Maybe with the old system we didn't but the
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  1                               G. KAVULICH                                     1                               G. KAVULICH
  2               new system does.                                                2              system?
  3                      Q.   You are looking at the bottom                       3                   A.    It would be too much of a
  4               of page one; correct?                                           4              bookkeeping headache for us to keep track
  5                      A.   Correct.                                            5              and to follow a particular file and then
  6                      Q.   You are looking at the list of                      6              really leave it to the marshal to do it.
  7               payments that are made; correct?                                7              So we would use the same marshal if we had
  8                      A.   Correct, and also one of the                        8              two income executions.
  9               two judgment execution devices and to who                       9                   Q.    We talked about the numbers
 10               that would be, or against whom that would                      10              that are put into the documents that you
 11               be. The way our system now does it, just                       11              issue to the marshal or to the bank to
 12               make believe we got payments from him;                         12              execute on money, execute to get money on a
 13               right, it would continue up here and we                        13              judgement. If the system is set up and you
 14               would know they came from him.                                 14              get payments from one marshal and you send
 15                      Q.   So this first line here in the                     15              it to another marshal to execute, the
 16               middle of the page, Exhibit 4, does it say                     16              system is not set up to account for the
 17               total amount collected?                                        17              balance due from the first marshal; right?
 18                      A.   No, that follows to the left.                      18                   A.    That is why we generally don't
 19               This says two things. This has the amount                      19              do that. What I see here is, what I think,
 20               collected, which should come after the                         20              although it is not indicated, because our
 21               entry of the property execution or income                      21              old system didn't say which marshal like
 22               execution or stipulation device. So say                        22              this one does, it probably went to
 23               there was nothing here. There was a blank                      23              Bienstock. And since I don't use Bienstock
 24               slate for now. It would show income                            24              anymore, that is why it was sent to some
 25               execution John Doe and the amount of the                       25              other marshal. This was the one off.
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  1                               G. KAVULICH                                     1                               G. KAVULICH
  2               judgment. Then it will show the payments                        2                   Q.    You don't know that. How would
  3               from John Doe. And if there were two                            3              you know that? You would have to go back
  4               people on the judgement, it would show Jane                     4              through the system and check manually each
  5               Doe going up.                                                   5              of the accounts where there was more than
  6                      Q.   Let's assume for a moment, we                       6              one alleged judgment debtor?
  7               can go through the document later, let's                        7                   A.    If it happened, it would be a
  8               assume for the moment you, in fact, used                        8              departure from policy, yes.
  9               two marshals to attempt to collect on this                      9                   Q.    And the policy is to try to
 10               index number. If you got a payment from                        10              send it to one marshal?
 11               one marshal, say for Miss Potter, and you                      11                   A.    To the same marshal, yes.
 12               got payments from another marshal, say for                     12                   Q.    That's what you mean by policy?
 13               Mr. Morales, who keeps track of the total                      13                   A.    Yes.
 14               amount due on the judgment?                                    14                   Q.    When does the marshal tell you,
 15                      A.   If that happened, we would                         15              if at any point, what the actual balance is
 16               send, I can't imagine an instance where we                     16              on a judgment?
 17               would have two income executions -- it is                      17                   A.    I don't think they
 18               rare that happens -- we would advise the                       18              affirmatively tell us until the judgment is
 19               marshal two in your example how much we had                    19              satisfied. But, in other words, every,
 20               collected from the other debtor, the                           20              they send like when we got the payments
 21               co-judgment debtor. But I can't think one                      21              from Miss Potter on June 5, 2010 it didn't
 22               where we have two income execution where we                    22              say fifty-five dollars remaining balance, I
 23               would use different marshals, because that                     23              don't think. But I would have to review
 24               is where it becomes problematic.                               24              the remittent sheets.
 25                      Q.   Because you wouldn't, know your                    25                   Q.    When the marshal tells you the
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  1                               G. KAVULICH                               1                              G. KAVULICH
  2               balance on a certain date, you don't                      2                   Q.     Then they run 9 percent
  3               reflect that balance anywhere in your                     3              interest on the hundred dollars?
  4               records, right?                                           4                   A.     Yes, let's say on a hundred and
  5                    A.     I don't think the marshal gives               5              three dollars or whatever it was. I don't
  6               us the balance as we go along. It will                    6              know.
  7               say, I am making this up, two hundred                     7                   Q.     So the interest would be run on
  8               dollar payment, a hundred applied to                      8              the decreasing balance; is that correct?
  9               principal and a hundred applied to                        9                   A.     Yes, it wouldn't be on the
 10               interest.                                                10              monies that are not owed.
 11                    Q.     If the marshal is able to keep               11                   Q.     Because the thing that confuses
 12               track of the balance due, why is your                    12              me and has always confused me, when I look
 13               office not able to do that?                              13              at the bank restraint notices and the
 14                    A.     That's what I said to my IT                  14              execution notices, it says interest from
 15               people.                                                  15              the date of the judgement, but it does not
 16                    Q.     Is the interest running from                 16              say the interest on what. Is it interest
 17               the principal amount of the judgement, from              17              on the judgment itself or is it interest on
 18               the date of the judgement, or does the                   18              the decreasing balance?
 19               interest run on the balance due as the                   19                   A.     I would imagine it is less so,
 20               payments are made?                                       20              in other words, if you have a five thousand
 21                    A.     Does the interest run from?                  21              dollars judgment, you have four hundred
 22                    Q.     Let's say, for example, you                  22              dollars left, I imagine the interest is on
 23               have a thousand dollar judgment a year ago,              23              four hundred.
 24               and there is a 9 percent interest, so you                24                   Q.     Do you happen to know if that
 25               already owe a thousand and ninety dollars.               25              is how the marshal calculates interest?
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  1                               G. KAVULICH                               1                              G. KAVULICH
  2               So if you have a judgement for a thousand                 2                   A.     Am I metaphysically sure, no,
  3               dollars, and a month later you pay nine                   3              but I know they are supervised by the
  4               hundred dollars, at the end of the year, do               4              department of investigation and the City
  5               you owe ninety dollars of interest or do                  5              and they are pretty tough, from what I
  6               you have to recalculate the amount of                     6              understand.
  7               interest, you know?                                       7                   Q.     You don't give the payment
  8                    A.     Well, interest runs during the                8              history to the marshal, you just give the
  9               whole, I mean, it does not stop running.                  9              total amount paid; right?
 10                    Q.     But is the interest set up to                10                   A.     Usually, yes, we will call
 11               run, say in my second example where you                  11              them. What I started doing is, just which
 12               make a payment a month clear, and you                    12              I just learned how to do, is copying it,
 13               reduce the balance, in a year is the                     13              cutting it and pasting it.
 14               interest running on the entire amount of                 14                   Q.     You just started doing that
 15               the judgement even though there are                      15              recently?
 16               payments made in that one-year period or do              16                   A.     Yes.
 17               you know?                                                17                   Q.     Up to that point when you
 18                    A.     If there's a payment and there               18              informed the marshal how much was due, the
 19               is a judgement for a thousand dollars, a                 19              marshal would take the balance that you
 20               month later --                                           20              claimed was due and they would run interest
 21                    Q.     Someone pays nine hundred                    21              on the full amount of the judgement until
 22               dollars.                                                 22              the date of the execution; is that right?
 23                    A.     I assume it would be a thousand              23                   A.     Say that again.
 24               plus interest for that month less that                   24                   Q.     You tell the marshal about the
 25               payment.                                                 25              balance due?
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  1                                G. KAVULICH                                 1                              G. KAVULICH
  2                      A.    Of five thousand dollars.                       2              action or were you also suing her for rent
  3                      Q.    Until recently you didn't tell                  3              after the entry of the money judgment?
  4               him the payment history?                                     4                     A.   Both.
  5                      A.    Correct, I didn't give the                      5                     Q.   What amount was for the debt
  6               dates of the payments. But I would tell                      6              for rent after the landlord-tenant, after
  7               him how much they would be.                                  7              the money judgment against Potter in the
  8                      Q.    So the marshal was calculating                  8              landlord-tenant action?
  9               interest on the full amount of the                           9                     A.   I believe, April and May of
 10               judgement all the way through the date of                   10              2008.
 11               the execution?                                              11                     Q.   Why do you say that?
 12                      A.    I don't know. You would have                   12                     A.   Because the judgment was for
 13               to ask the marshal.                                         13              monies, according to my recollection, was
 14                      Q.    Let's move on to the                           14              for monies due through March and this
 15               landlord-tenant suits. Going back to                        15              summons seeks monies for through and
 16               Exhibit 5, the collection lawsuit against                   16              including March but also additional to
 17               Miss Potter and Mr. Morales, you were suing                 17              that, April and May of 2008.
 18               Miss Potter for the same debt that Rosewall                 18                     Q.   If you go down to the third
 19               had a money judgment against her for;                       19              action, it says "plaintiff seeks to recover
 20               right?                                                      20              damages from the defendant in the sum of
 21                      A.    Yes.                                           21              five hundred dollars representing
 22                      Q.    It was not for rent due after                  22              reasonable attorney's fees together with
 23               that judgment; right?                                       23              costs and disbursements of this action and
 24                      A.    No, but it included both.                      24              for such other further relief as the court
 25                      Q.    It included rent due after the                 25              may deem just." Let me ask you this: Do
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  1                                G. KAVULICH                                 1                              G. KAVULICH
  2               judgement?                                                   2              you make this five hundred dollar attorney
  3                      A.    According to my rudimentary                     3              fees demand for every lawsuit you file to
  4               Spanish, it looks like we scanned the                        4              collect rent?
  5               English version of the summons and the                       5                     A.   Mostly, yes.
  6               Spanish version of the complaint.                            6                     Q.   When you make a demand for
  7                      Q.    You don't have the full summons                 7              attorney fees for five hundred dollars, you
  8               and complaint for a lawsuit you filed                        8              don't know if the lease agreement allows
  9               against Miss Potter and Mr. Morales?                         9              for the recovery of attorney's fees, do
 10                      A.    Now we do. Now it scans                        10              you?
 11               automatically. It may well very be in                       11                     A.   That is why I say mostly.
 12               there. Here it is.                                          12              There are cases where there aren't lease
 13                      Q.    What is the Bates stamp?                       13              agreements. And we sue for, rent is now
 14                      A.    That's 34.                                     14              called, what otherwise is called rent, is
 15                      Q.    It is Bates stamped Kavulich                   15              called use and occupancy. In those cases
 16               parenthesis Morales 34?                                     16              we don't use ask for attorney fees because
 17                      A.    Yes.                                           17              there is no contractural rate. But just
 18                            MR. KESHAVARZ: So we are                       18              about every lease I have seen, does allow
 19                      amending Plaintiff's 5 to add this                   19              for it. So the answer it, yes, mostly we
 20                      subsequent two pages. So Exhibit 5                   20              do ask for attorney's fees which ultimately
 21                      is now Kavulich 31 through Kavulich                  21              are waived because it is on default. I
 22                      34.                                                  22              don't remember one case where we collected
 23                      Q.    My question is as to Miss                      23              legal fees, but the answer is, yes, there
 24               Potter, were you suing her in Exhibit 5 for                 24              has to be a lease for us to sue.
 25               the money judgment in landlord-tenant                       25                     Q.   When you file these
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  1                                   G. KAVULICH                               1                               G. KAVULICH
  2               landlord-tenant suits you don't look to see                   2              correct?
  3               based on a contract, you don't look to see                    3                   A.     She is the one who did.
  4               if that specific lease has a provision                        4                   Q.     While she worked there?
  5               about the recovery of attorney's fees, do                     5                   A.     Yes.
  6               you?                                                          6                   Q.     While she worked there, that
  7                      A.     Yes. Sure.                                      7              was her responsibility and you didn't look
  8                      Q.     Every time you file a landlord,                 8              at the leases, you just relied on what
  9               a suit for collection of rent, you also                       9              Mercedes put in the notes?
 10               look at that specific lease at issue to                      10                   A.     Yes.
 11               determine whether there are rights to                        11                   Q.     Based on what the lease said?
 12               attorney's fees, are you saying that?                        12                   A.     Yes.
 13                      A.     No, I am saying not at the time                13                          MR. KESHAVARZ: Please mark
 14               when we do the summons. That time is                         14                    this as Plaintiff's 6 for
 15               actually determined in anticipatorily when                   15                    identification.
 16               the case is entered because, for example,                    16                          (Whereupon, the aforementioned
 17               the notes will say, no late or legal fees,                   17                    document was marked as Plaintiff's
 18               no lease, must be use and occupancy.                         18                    Exhibit 6 for identification as of
 19                      Q.     That is put in by Mercedes when                19                    this date by the Reporter.)
 20               she puts it into the system?                                 20                   Q.     I am showing you what has been
 21                      A.     Was. Now it is by me for the                   21              marked as Plaintiff's 6, Bates stamped
 22               last five years.                                             22              Kavulich 4 through Kavulich 9 and is this
 23                      Q.     You are saying Mercedes is to                  23              the lease upon which you are basing the
 24               interpret a lease agreement to determine                     24              collection lawsuit that is Exhibit 5?
 25               whether there is a right to attorney's fees                  25                   A.     I believe so, yes.
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  1                                   G. KAVULICH                               1                               G. KAVULICH
  2               in the lease agreement and put that into                      2                   Q.     When you said the standard
  3               the computer notes; right?                                    3              lease form, what did you mean?
  4                      A.     She is not supposed to                          4                   A.     As it says on the first page
  5               interpret the lease agreement. She is                         5              there is a standard form of apartment lease
  6               supposed to look at it and see and it says                    6              that is issued by the Real Estate Board of
  7               late and legal fees, usually. If I may,                       7              New York that most landlords use for rent
  8               most of my clients have rent-stabilized                       8              stabilized leases.
  9               apartments, use the standard form apartment                   9                   Q.     I want to point your attention
 10               lease.                                                       10              to Bates stamped Kavulich 6 and tell me if
 11                      Q.     I will ask you to take a look                  11              you can read paragraph 18C3.
 12               at this in a second. Let me ask, let me                      12                   A.     Yeah.
 13               just finish up this line of questioning.                     13                   Q.     So 18C says whether the
 14               Mercedes would be the one responsible when                   14              apartment is re-rented or not, you must pay
 15               she opens up the account on your computer                    15              the owner as damages; right?
 16               system to review the lease and determine if                  16                   A.     You must pay to the owner as
 17               there is a right to attorney's fees; is                      17              damages, yes.
 18               that right?                                                  18                   Q.     So sub C3 is owner's expenses
 19                      A.     Yes.                                           19              for attorney's fees; correct?
 20                      Q.     You don't just assume there is                 20                   A.     Yes.
 21               a right to attorney's fees if it is a                        21                   Q.     This is the language you use as
 22               written contract?                                            22              a basis for demanding five hundred dollars
 23                      A.     No.                                            23              in attorney's fees in almost all of the
 24                      Q.     She is the one who look at                     24              rent cases that you file based on a written
 25               those leases to make that determination;                     25              contract; correct?
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  1                                G. KAVULICH                                  1                                 G. KAVULICH
  2                      A.   I believe there is another                        2              debt collected; correct?
  3               section. I haven't looked at one of these                     3                   A.      Other than the suit fees, yes.
  4               from 2006 in a long time.                                     4                   Q.      So your client doesn't actually
  5                      Q.   Take your time.                                   5              incur the attorney's fees; right? He does
  6                      A.   Well, also on page 4 of the                       6              not actually pay any attorney's fees, it is
  7               lease, Bates stamped page 7 at the top, sub                   7              not incurred; is that right?
  8               5, "any legal fees or disbursements for                       8                   A.      Depending on the case, maybe
  9               illegal actions or proceedings brought by                     9              not, but otherwise, yes, of course, he
 10               owner against you because of a lease                         10              incurs fees. He's losing, he's not only
 11               default by you or defending lawsuits                         11              just, he's losing money from the monies
 12               brought against owner because of your                        12              that are owed him that go to us that is a
 13               actions." I guess those are the only two.                    13              legal fee.
 14                      Q.   But the thing you just read is                   14                   Q.      But that is a fee that would be
 15               not one of the remedies?                                     15              paid if monies is collected?
 16                      A.   You are correct, it is not a                     16                   A.      Correct.
 17               remedy. It says fees and expenses as the                     17                   Q.      It is not an obligation that
 18               owner's rate, you must reimburse owner for                   18              the landlord incurs by hiring you to file a
 19               any of the following fees and expenses                       19              collection lawsuit?
 20               incurred by owner. That is Bates stamped                     20                   A.      Not at that time.
 21               page 6 at the bottom paragraph 20,                           21                   Q.      So at the date you file the
 22               sub-paragraph A and of that subparagraph 5,                  22              collection lawsuit, the landlord has not
 23               is what I read just a minute ago.                            23              incurred any attorney's fees at that point;
 24                      Q.   When you file civil suits to                     24              correct?
 25               collect rent, the landlord does not                          25                   A.      Correct.
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  1                                G. KAVULICH                                  1                                 G. KAVULICH
  2               actually pay you to file a suit, you just                     2                   Q.      How did you come to the number
  3               get a percentage of what is collected;                        3              five hundred dollars?
  4               right?                                                        4                   A.      It is what they had on my old
  5                      A.   No, that's not true.                              5              firm's summons.
  6                      Q.   In what way is that not true?                     6                   Q.      That was Gutman & Mintz?
  7                      A.   Some landlords play the suit                      7                   A.      Yes.
  8               fees.                                                         8                   Q.      To your knowledge, does Gutman
  9                      Q.   Which are the filing fees?                        9              Mintz still use that?
 10                      A.   Yes, and process serving.                        10                   A.      I don't know.
 11                      Q.   Other than that when you get                     11                   Q.      So when you filed the civil
 12               hired to file suit to collect rent, you                      12              lawsuit, Exhibit 5, you knew that there was
 13               don't get paid anything by the landlord                      13              no judgement against James Morales;
 14               other than the costs of court for some of                    14              correct?
 15               the landlords; right?                                        15                   A.      No.
 16                      A.   Right.                                           16                   Q.      Why would you file a lawsuit to
 17                      Q.   Is that most of the landlord's?                  17              obtain a judgement against a consumer if
 18                      A.   Half and half.                                   18              you already had a judgment for most of the
 19                      Q.   Do you bill your clients for                     19              debt you were seeking to collect?
 20               attorney's fees, not expenses but bill your                  20                   A.      There was a momentary lapse of
 21               clients for attorney's fees for?                             21              consciousness here. Because when the case
 22                      A.   A contingency fee is considered                  22              was opened, it seemed as though there was a
 23               our legal fee.                                               23              judgement, and I am reading from the notes.
 24                      Q.   The only thing you charge your                   24              I am recollecting myself from Exhibit 4,
 25               client is the amount of a percentage of the                  25              there was a judgement, and then somehow it
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  1                               G. KAVULICH                                  1                                 G. KAVULICH
  2               went as if there wasn't a judgement, and                     2                   Q.       Because of the handwritten
  3               then somebody realized there was a                           3              notes?
  4               judgement. So we instructed the process                      4                   A.       No, because, I don't remember
  5               server not to serve the summons. And we                      5              exactly but it states it here in the notes
  6               filed a, which we may or may not have been                   6              as Exhibit 1.
  7               done, I don't know off the top of my head,                   7                   Q.       I am trying to figure out who
  8               but then we filed a notice of                                8              on July 23, 2008, realized there was a
  9               discontinuance.                                              9              final judgement? How do you know it was
 10                    Q.     You don't recall this, this                     10              you as opposed to someone else on your
 11               basis of?                                                   11              staff?
 12                    A.     Off the notes. I don't recall                   12                   A.       Because it is indicated, I
 13               this independently.                                         13              updated the note.
 14                    Q.     Your testimony is based solely                  14                   Q.       Where is that indicated?
 15               on the documents in front of you?                           15                   A.       To the right.
 16                    A.     Yes.                                            16                   Q.       Let me jump back for a second.
 17                    Q.     Not based on your independent                   17              When you talked before about one of your
 18               recollection?                                               18              staff, you said they intentionally, and
 19                    A.     Yes.                                            19              correct me if I am wrong, put documents in
 20                    Q.     So after the complaint was                      20              the wrong consumer's file?
 21               withdrawn, then it says strike S & C we                     21                   A.       That is what I am told. I
 22               have FJ; correct?                                           22              don't know if it is factually true. Told
 23                    A.     Yes.                                            23              is that what I was told.
 24                    Q.     So someone looked at your file                  24                   Q.       As a factual matter, documents
 25               to see if there was a judgement?                            25              for one consumer would not be in that
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  1                               G. KAVULICH                                  1                                 G. KAVULICH
  2                    A.     I did.                                           2              consumer's file sometimes?
  3                    Q.     But looking at your file, there                  3                   A.       Do documents get scanned into
  4               was, in fact, no money judgement against                     4              the wrong files sometimes, yes, even by the
  5               Mr. Morales; is that correct?                                5              guy I have now.
  6                    A.     In retrospect it is true.                        6                   Q.       What I am trying to get at is
  7                    Q.     Because a computer system in                     7              this: There aren't any other documents in
  8               court would not reflect a money judgment                     8              your system other than what you have
  9               entered against Mr. Morales in the                           9              produced in this case?
 10               landlord-tenant action because, in fact,                    10                   A.       In this case, yes.
 11               there was no such judgement.                                11                   Q.       Regardless of where it is
 12                    A.     If there is not a judgment it                   12              filed?
 13               is very unlikely a court computer would                     13                   A.       Right I don't have another file
 14               should that; correct.                                       14              somewhere else.
 15                    Q.     Would show a money judgement.                   15                            MR. KESHAVARZ: Mark this
 16               If there is no money judgement, the                         16                       please as Plaintiff's 7 for
 17               computer system at the courthouse --                        17                       identification.
 18                    A.     Is not going to show there is                   18                            (Whereupon, the aforementioned
 19               one; correct.                                               19                       document was marked as Plaintiff's
 20                    Q.     Who made that determination                     20                       Exhibit 7 for identification as of
 21               there was a final judgment?                                 21                       this date by the Reporter.)
 22                    A.     After the issuance of the                       22                   Q.       I am showing you what has been
 23               summons, me.                                                23              marked as Plaintiff's 7. These are two
 24                    Q.     How do you know that?                           24              documents that were produced by your
 25                    A.     We just said that.                              25              attorney in this case Kavulich 36 and
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  1                                G. KAVULICH                               1                               G. KAVULICH
  2               Kavulich 37. Are these affidavits of                       2              Does that appear to be a Notice Of
  3               service in the collections lawsuit filed in                3              Discontinuance you filed in the civil court
  4               civil court?                                               4              action against Ms. Potter and Mr. Morales?
  5                      A.   35 and 36, yes.                                5                   A.    Yes.
  6                      Q.   So according to these documents                6                   Q.    Even though Mr. Morales and
  7               the summons and complaint was actually                     7              Miss Potter were served in a civil court
  8               served on Mr. Morales and Miss Potter;                     8              lawsuit, your office did not notify either
  9               correct?                                                   9              Miss Potter or Mr. Morales that the suit
 10                      A.   Yes.                                          10              had been discontinued; is that correct?
 11                      Q.   The process server filed that                 11                   A.    No, that is false.
 12               return of service and provided a copy to                  12                   Q.    In what way is that false?
 13               your office; is that correct?                             13                   A.    We mailed these certified out
 14                      A.   Yes.                                          14              to the defendants.
 15                      Q.   But you don't know if the                     15                   Q.    You are referencing Exhibit 8?
 16               summons and complaint was actually served                 16                   A.    Yes, we mailed notices of
 17               on Miss Potter or Mr. Morales. All you                    17              discontinuance to the respective parties,
 18               know is what the affidavit of service                     18              the defendants.
 19               claims?                                                   19                   Q.    But Exhibit 8 does not include
 20                      A.   I know that the affidavit of                  20              a certificate of service?
 21               served states they were both served of                    21                   A.    No.
 22               suitable age and discretion, but was I                    22                   Q.    There is nothing in your
 23               there, no.                                                23              collection notes that indicate that a copy
 24                      Q.   Do you know this process                      24              of the Notice of Discontinuance was, in
 25               server? Have you used this process server                 25              fact, mailed to Mr. Morales or Miss Potter;
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  1                                G. KAVULICH                               1                               G. KAVULICH
  2               before?                                                    2              correct?
  3                      A.   We don't use this company                      3                   A.    No.
  4               anymore. Do I know him? No.                                4                   Q.    No, there isn't any?
  5                      Q.   Which company was that?                        5                   A.    No, there isn't any.
  6                      A.   It was a gentleman by the name                 6                   Q.    Sitting here today you don't
  7               of Lawrence Marsh.                                         7              know if, in fact, Miss Potter or Mr.
  8                      Q.   Is there something on this                     8              Morales was, in fact, mailed a copy of the
  9               document that tells you that?                              9              Notice of Discontinuance; is that correct?
 10                      A.   No, I just know.                              10                   A.    Metaphysically, no. I don't
 11                      Q.   He notarized the signature of                 11              know, metaphysically know it was not sent,
 12               the process server; correct?                              12              but I know it was our procedure.
 13                      A.   It look like Sheryl Marsh to                  13                         MR. KESHAVARZ: Let's take a
 14               me.                                                       14                   quick break.
 15                      Q.   Mr. Evans or Mrs. Evans was the               15                         (Whereupon, a short recess was
 16               process server that worked for Mr. Marsh?                 16                   taken.)
 17                      A.   Yes.                                          17                   Q.    So do you believe any liability
 18                           MR. KESHAVARZ: Mark this                      18              in this case is due to the action or in
 19                      please as Plaintiff's 8 for                        19              action of Gutman Mintz?
 20                      identification.                                    20                   A.    No.
 21                           (Whereupon, the aforementioned                21                   Q.    Have you ever attempted to
 22                      document was marked as Plaintiff's                 22              collect on a judgement that has been
 23                      Exhibit 8 for identification as of                 23              vacated or non-existent other than this
 24                      this date by the Reporter.)                        24              case?
 25                      Q.   I am showing you Plaintiff's 8.               25                   A.    First of all, never
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  1                              G. KAVULICH                                    1                              G. KAVULICH
  2               intentionally and not that any come to                        2              you did for Rosewall are how many?
  3               mind. I mean Mr. Morales.                                     3                   A.     A dozen.
  4                    Q.    Can you think about it and let                     4                   Q.     Was there a particular reason
  5               us know when we come back.                                    5              you no longer are filing cases on behalf of
  6                          MR. KESHAVARZ: We have an                          6              Rosewall?
  7                    agreement that since Mr. Kavulich has                    7                   A.     Or through Metropolitan, yes,
  8                    to leave at 2:30 today, we have an                       8              but it is unrelated to this. We had a
  9                    agreement the deposition will                            9              personality thing. He hooked me up with a
 10                    continue at my office at 10:30 on                       10              good client, I sent him a thank you. I got
 11                    December 1st, is that our agreement?                    11              him a gift certificate to a restaurant out
 12                          MR. PASHKIN: Yes.                                 12              on Long Island. I didn't know restaurants
 13                    Q.    The account that comes to you                     13              on Long Island so I had to do research and
 14               from Rosewall, you said that come through a                  14              find out what was a good one, and he never
 15               property management company?                                 15              thanked me and we had words.
 16                    A.    Yes.                                              16                   Q.     Do you know if that is the same
 17                    Q.    Who did you say that was?                         17              individual --
 18                    A.    Metropolitan Properties.                          18                   A.     No, it was not the guy that
 19                    Q.    When I say communications with                    19              came here.
 20               Rosewall, those are all communications that                  20                   Q.     I think from his testimony, he
 21               go through this property management                          21              was the only point of contact for Rosewall
 22               company?                                                     22              cases. He was not --
 23                    A.    They are with the Met                             23                   A.     I am saying another part of
 24               Properties management company.                               24              Metropolitan. One of the guys, the guy he
 25                    Q.    Any communications about this                     25              works with recommended me to someone else.
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  1                              G. KAVULICH                                    1                              G. KAVULICH
  2               case, about the debt and so forth those are                   2              It had nothing to do with that.
  3               only communications through the property                      3                   Q.     Nothing to do with collection
  4               management company on behalf of Rosewall;                     4              on behalf of Rosewall?
  5               correct?                                                      5                   A.     Correct.
  6                    A.    Correct.                                           6                   Q.     As this case progressed, and I
  7                    Q.    Well, let's start from the                         7              guess generally for the Rosewall cases, do
  8               beginning. What information have you                          8              you communicate back and forth with
  9               provided when started opening this case for                   9              Rosewall through their property management
 10               Mr. Morales?                                                 10              company or how does that work?
 11                    A.    We had, it is unrelated to this                   11                   A.     Now, you mean, or back then?
 12               because I don't represent them anymore, I                    12                   Q.     Back when you had cases with
 13               would go to their office physically and I                    13              Rosewall and other communications with the
 14               would go through the files and take out                      14              property management company?
 15               the, you know, the necessary documents and                   15                   A.     It was not that many. They
 16               copy them and bring them back to my office.                  16              would call us. If you are looking for how
 17                    Q.    Is that for all accounts that                     17              it worked, he would say give me a call,
 18               go through that property management                          18              Gary, I have some cases for you to pick up.
 19               company?                                                     19              I would go there he would have a list.
 20                    A.    For that particular management                    20              Somebody would show me where the files are.
 21               company, yes.                                                21              I would sit down at a table and take out
 22                    Q.    About how many accounts would                     22              documents and copy them and that was it.
 23               do that?                                                     23                   Q.     Were they both judgment
 24                    A.    Maybe ten.                                        24              accounts and filing suits to collect rents?
 25                    Q.    And the total number of cases                     25                   A.     When I sat down at the table
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  1                               G. KAVULICH                               1                              G. KAVULICH
  2               before I opened the file, I would not know.               2              the only client I did that for,
  3               There are people who vacated those                        3              regrettably, if I had personally handled,
  4               properties owing monies.                                  4              picked up the case, then, no, she would
  5                      Q.   So when you looked through the                5              not. But those were not most of the cases.
  6               file, you would copy, make a photocopy of                 6              In other words, I didn't go and pick up
  7               the judgment, if there was a judgement?                   7              most of the cases and go through the
  8                      A.   If they had it in their file,                 8              clients files. I might go and pick up
  9               yes.                                                      9              files that they put together or receive
 10                      Q.   Do they normally have a copy of              10              files in the mail, or grab them off the
 11               the court file from the prior                            11              fax. But if I received a case in the mail,
 12               landlord-tenant attorney?                                12              then I would just give it to Mercedes. But
 13                      A.   Sometimes they would, and                    13              in this particular case, I physically went
 14               sometimes they would not.                                14              there and I physically went through the
 15                      Q.   Would they normally have a copy              15              client's file and I physically wrote the
 16               of the judgement if there was a judgment                 16              note.
 17               entered?                                                 17                   Q.    You say that because that is
 18                      A.   Sometimes there were and                     18              how you, that is the process for the
 19               sometimes there wasn't.                                  19              Rosewall accounts?
 20                      Q.   Before got an account to                     20                   A.    For the Metropolitan
 21               collect on a judgement, you would check the              21              Properties, yes, and also reviewing the
 22               file to see if there was, in fact, a                     22              documents.
 23               judgement?                                               23                   Q.    So whether there was a
 24                      A.   We would check there and then                24              determination whether there was a judgement
 25               if there was any sort of indication there,               25              or not for Mr. Morales and Miss Potter,
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  1                               G. KAVULICH                               1                              G. KAVULICH
  2               maybe then we would go to court.                          2              that would not have been based on a review
  3                      Q.   So you made the determination,                3              of the housing court computer; right?
  4               did you make the determination when you got               4                   A.    That note was written while I
  5               the account about going through their file                5              was sitting in the client's office.
  6               whether there was a judgment or not, a                    6                   Q.    What note?
  7               money judgement?                                          7                   A.    That I referenced earlier FJ.
  8                      A.   I would say, yes, because                     8                   Q.    So you saw a money judgement
  9               apparently we came up with one here, but                  9              against Miss Potter, is that what you are
 10               pursuant to my review of the documents                   10              saying you or don't know?
 11               earlier and my contemporaneous notes at the              11                   A.    Again, I am not the brightest
 12               time, that's what I did come up with. I                  12              bulb in the bunch, but I would know
 13               don't recall now.                                        13              generally if there were two. I screwed up
 14                      Q.   Correct me if I am wrong, was                14              and wrote FJ, which would have meant it was
 15               it Mercedes' decision to note whether the                15              against both people. Because these
 16               account was a judgment account or a                      16              situations come up or have come up and do
 17               collections lawsuit account?                             17              come up now, for instance, we will open up
 18                      A.   Generally, yes, but on the                   18              two cases, like as well we should have done
 19               cases where I would go and pick up, in                   19              here, open up a case for, with hindsight
 20               other words, as I mentioned before,                      20              opened up one case against Miss Potter
 21               sometimes, well, then, I don't know if we                21              solely as to the judgement, and opened up
 22               had any e-mailed cases, they would come in               22              one case, another case as to Mr. Morales
 23               the mail or we would go and pick them up,                23              for the non-judgement debt.
 24               they would fax them. God forbid. If I was                24                   Q.    So for Mr. Morales you would
 25               involved in, like I mentioned, this isn't                25              file a civil court case and for Miss Potter
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  1                               G. KAVULICH                                1                             G. KAVULICH
  2               you would just go through execution?                       2                         (Whereupon, at 2:30 P.M., the
  3                    A.     Correct.                                       3                   Examination of this witness was
  4                    Q.     There was a stipulation --                     4                   adjourned.)
  5                    A.     From housing court.                            5
  6                    Q.     A stipulation of settlement                    6                     °      °         °    °
  7               from housing court?                                        7
  8                    A.     Yes.                                           8
  9                    Q.     Was that a basis for you                       9
 10               thinking there was a judgment in this case?               10
 11                    A.     I don't remember but I think                  11
 12               that is probably what it must have been. I                12
 13               just read the stip.                                       13
 14                    Q.     So based on your review right                 14
 15               now, you think maybe that is why?                         15
 16                    A.     I think that is why?                          16
 17                    Q.     You thought it was a judgement?               17
 18                    A.     There was a judgement, but why                18
 19               I thought it was a judgement against Mr.                  19
 20               Morales as well, yes.                                     20
 21                    Q.     But don't specifically                        21
 22               remember, you are assuming that's the                     22
 23               reason, based on looking at the                           23
 24               stipulation?                                              24
 25                    A.     Yes.                                          25
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                                                                             1                             G. KAVULICH
  1                               G. KAVULICH
                                                                             2                         DECLARATION
  2                    Q.     Because when you filed the, my                 3
  3               client claimed the money in the account was                4                   I hereby certify that having been
  4               exempt?                                                    5              first duly sworn to testify to the truth, I
                                                                             6              gave the above testimony.
  5                    A.     No, I don't think he did.                      7
  6                    Q.     He didn't file an exemption                    8                   I FURTHER CERTIFY that the foregoing
  7               claim form?                                                9              transcript is a true and correct transcript
                                                                            10              of the testimony given by me at the time
  8                    A.     In this case, no. I think that
                                                                            11              and place specified hereinbefore.
  9               is Prage.                                                 12
 10                           MR. PASHKIN: This seems like a                13
 11                    good stopping point. So I will see                   14
                                                                                                       _________________________
 12                    you on December 1st at 10:30.                        15                            GARY KAVULICH
 13                    Q.     It said in the e-mails with the
 14               marshal, that this is another one and this                16
 15               is like the other case, about the fact
                                                                            17
 16               there was no judgement, do you know what
 17               that was about?                                           18              Subscribed and sworn to before me
 18                    A.     Who said that?
                                                                            19              this _____ day of ________________ 20___.
 19                    Q.     It was in e-mail with the
 20               marshal? Do you know what the other case                  20
 21               they were referring to was?
                                                                            21
 22                    A.     I don't know.
                                                                                            _________________________
 23                           MR. KESHAVARZ: I can check the                22                NOTARY PUBLIC
 24                    e-mail and we can pick that up the                   23
 25                    next time. See you shortly.                          24
                                                                            25
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  1                            G. KAVULICH
  2                        CERTIFICATE
  3

  4               STATE OF NEW YORK     )
                               : SS.:
  5               COUNTY OF KINGS     )
  6
  7                    I, ELIZABETH FORERO, a Notary Public
  8               for and within the State of New York, do
  9               hereby certify:
 10                    That the witness whose examination is
 11               hereinbefore set forth was duly sworn and
 12               that such examination is a true record of
 13               the testimony given by that witness.
 14                    I further certify that I am not
 15               related to any of the parties to this
 16               action by blood or by marriage and that I
 17               am in no way interested in the outcome of
 18               this matter.
 19                    IN WITNESS WHEREOF, I have hereunto
 20               set my hand this 6th day of December 2016.
 21

 22
 23                           ___________________________
                                 ELIZABETH FORERO
 24
 25
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